Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 1 of 103 PageID 2874   1


    1                    IN THE UNITED STATES DISTRICT COURT

    2                    FOR THE NORTHERN DISTRICT OF TEXAS

    3                                DALLAS DIVISION

    4
        UNITED STATES OF AMERICA,           )         3:14-CR-340-K
    5                  Government,          )
                                            )
    6                                       )
        VS.                                 )         DALLAS, TEXAS
    7                                       )
                                            )
    8   TREVEON DOMINIQUE ANDERSON          )
        and JIMMY HATCHETT,                 )
    9                  Defendants.          )         October 24, 2018

  10

  11                      TRANSCRIPT OF JURY TRIAL VOLUME 3

  12                       BEFORE THE HONORABLE ED KINKEADE

  13                         UNITED STATES DISTRICT JUDGE

  14

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  16

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Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 2 of 103 PageID 2875   2


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                    Todd Anderson, RMR, CRR            (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 3 of 103 PageID 2876      3


    1                  JURY TRIAL VOLUME 3 - OCTOBER 24, 2018

    2                            P R O C E E D I N G S

    3               THE COURT:    How are you this morning?

    4               THE WITNESS:    Good, Your Honor.       How about yourself?

    5               THE COURT:    Good.   Good.     Good.

    6               Have you got water down there?

    7               THE WITNESS:    I'm good.

    8               THE COURT:    Okay.   Good.    All right.

    9               MR. LUND:    Ready to proceed, Your Honor.

  10                THE COURT:    I knew you were.

  11                And -- off the record.

  12                (Discussion off the record)

  13                SECURITY OFFICER:     All rise for the jury.

  14                (Jury in)

  15                THE COURT:    Thank y'all.     Y'all be seated.

  16    Appreciate it.

  17                All right.    Mr. Lund.

  18                MR. LUND:    Agent --

  19                THE COURT:    The witness was passed, and now it's

  20    cross-examination.

  21                             CROSS-EXAMINATION

  22    BY MR. LUND:

  23    Q.    Agent, good morning.

  24    A.    Good morning.

  25    Q.    I'd like to show you Defendant's Exhibit 103, which was




                    Todd Anderson, RMR, CRR            (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 4 of 103 PageID 2877   4


    1   previously admitted into evidence.

    2   A.     Okay.

    3               (Pause)

    4               MR. LUND:   Ms. Lee, Defendant's --

    5               MS. LEE:    Okay.

    6   BY MR. LUND:

    7   Q.     At the top here, can you read what this says at the very

    8   top?

    9   A.     "Facebook Business Record."

  10    Q.     As an FBI agent, have you previously reviewed Facebook

  11    business records?

  12    A.     Not a lot, but I have a little.

  13    Q.     Okay.

  14                MR. LUND:   If I could have the whole image again,

  15    Ms. Lee.

  16                (Pause)

  17    BY MR. LUND:

  18    Q.     Will you generally agree with me that this is generally a

  19    bag with some money in it?

  20    A.     Yes, sir.

  21    Q.     At the bottom here --

  22                MR. LUND:   If I could have just this text at the

  23    bottom, please, Ms. Lee.

  24    BY MR. LUND:

  25    Q.     There's a comment here where -- there's a name next to




                    Todd Anderson, RMR, CRR            (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 5 of 103 PageID 2878   5


    1   "user" where I'm highlighting.        What is that name?

    2   A.    Oh, where it says -- it says Cheryl Austin.

    3   Q.    Are you aware that Cheryl Austin was Mr. Hatchett's

    4   girlfriend in 2013?

    5   A.    No, sir.

    6   Q.    So you were not here in court when that testimony was

    7   heard previously?

    8   A.    No, sir.

    9   Q.    Can you please read the text?

  10    A.    "I like.    Thank you baby."

  11    Q.    And so that's a comment that was left by Ms. Austin

  12    apparently in this Facebook photo?

  13    A.    Okay.

  14    Q.    Thank you.

  15                MR. LUND:   May I please have Defense Exhibit 102,

  16    which was previously admitted into evidence, and if you could

  17    jump directly to page 19.

  18                (Pause)

  19    BY MR. LUND:

  20    Q.    While that's coming up, you're familiar with the name

  21    Hilton Aitch, are you not?

  22    A.    Yes, sir.

  23    Q.    That's one of the individuals whose cell phone records you

  24    analyzed, correct?

  25    A.    Yes, sir.




                    Todd Anderson, RMR, CRR            (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 6 of 103 PageID 2879   6


    1   Q.    Do you see at the top --

    2               MR. LUND:   I apologize.       Page 19.

    3               MS. LEE:    Is this not the correct, page?

    4               MR. LUND:   It's not.

    5               MS. LEE:    Okay.

    6               (Pause)

    7               MR. LUND:   Scroll to the Hilton Aitch page, please.

    8               MS. LEE:    Okay.

    9               (Pause)

  10    BY MR. LUND:

  11    Q.    Okay.    Here we go.

  12                Now, at the top here where it says "name," do you

  13    recognize this name?

  14    A.    It says Hilton -- well, Aitch, Hilton Murdock.

  15    Q.    And you understand that's the same gentleman whose cell

  16    phone records you reviewed, correct?

  17    A.    Yes, sir.

  18    Q.    I'm pointing here at the top where it says, "United States

  19    Marshals Service."

  20                If I told you these were admitted as certified United

  21    States Marshals records, you wouldn't have any reason to doubt

  22    me, would you?

  23    A.    No, sir.

  24                MR. LUND:   At the bottom of this page, if I can,

  25    Ms. Lee.




                    Todd Anderson, RMR, CRR            (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 7 of 103 PageID 2880       7


    1                  MS. LEE:    Yes, sir.

    2   BY MR. LUND:

    3   Q.      Where it says, "custody information" down here, do you see

    4   that?

    5   A.      The custody start date?

    6   Q.      Yes.

    7   A.      Yes, sir.

    8   Q.      You don't have to read the date.       I'm just looking for the

    9   custody information.

  10                   MR. LUND:   If I could go forward two pages, please.

  11    BY MR. LUND:

  12    Q.      Now, this is a little more difficult to see, so if we can

  13    blow it up.       This lists --

  14                   MR. LUND:   Actually, a little higher.      Sorry.   Near

  15    the top.       I apologize.    Right there.   Thank you.

  16    BY MR. LUND:

  17    Q.      Now, this lists a number of different facilities, correct?

  18    A.      Cell block, Montgomery County, Kaufman County, Fannin

  19    County, Johnson County, so, yes, sir.

  20    Q.      Do you see then here where it says, "FCI Seagoville

  21    Detention Center"?

  22    A.      Yes, sir.

  23                   MR. LUND:   And if I could please go back out and see

  24    the bottom part of this page.          I'll show you where.    It's this

  25    second part right here.




                       Todd Anderson, RMR, CRR         (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 8 of 103 PageID 2881   8


    1   BY MR. LUND:

    2   Q.    And you see again here it says, "FCI Seagoville Detention

    3   Center"?

    4   A.    Yes, sir.

    5   Q.    It says "admit."     Is that date 9-20-18?

    6   A.    It's kind of blurry, and it's kind of broken up, but I

    7   don't see any reason why it wouldn't be if that's the date

    8   you're saying.

    9   Q.    And then the release date is blank, correct?

  10    A.    Yes, sir.

  11    Q.    Thank you.

  12                Now, I would like to move back on --

  13                MR. LUND:   I appreciate that.       I'm finished with that

  14    exhibit.

  15    BY MR. LUND:

  16    Q.    With regards to your analysis in this case, you went

  17    through a number of call detail records for Mr. Hatchett,

  18    correct?

  19    A.    I only had toll records for the phone associated with

  20    Mr. Hatchett.

  21    Q.    That's correct.     And that's different than the cell site

  22    data that you had for other individuals, correct?

  23    A.    Yes, sir.

  24    Q.    So because you only had the toll records, you cannot say

  25    where Mr. Hatchett's phone was on November 17, 2013, correct?




                    Todd Anderson, RMR, CRR            (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 9 of 103 PageID 2882    9


    1   A.    No, sir.

    2   Q.    And you certainly couldn't say where Mr. Hatchett was on

    3   those dates, correct?

    4   A.    No, sir, I can't say anything about that.

    5   Q.    You had two different slides in your presentation

    6   yesterday.    I believe they were 36 and 37.        And they showed two

    7   different spreadsheets regarding the toll records you had for

    8   Mr. Hatchett.     Do you remember those?

    9   A.    Yes, sir.

  10    Q.    You reviewed -- you reviewed the whole amount of records

  11    from Mr. Hatchett, correct?

  12    A.    I just looked mainly during the days, the couple of days

  13    around the offense.      I didn't review the whole record.

  14    Q.    But you had access to the whole record?

  15    A.    Yes, sir.

  16    Q.    And so you instead reviewed part of the record and put

  17    that in your report, correct?

  18    A.    Yes, sir.

  19    Q.    And you were directed to do so?

  20    A.    Yes, sir.

  21    Q.    So you wouldn't be aware that there were calls between

  22    Mr. Hatchett and Messrs. Aitch and Thompson from other days?

  23    A.    I did see that there were other calls on those other days.

  24    Q.    You did see them, so you're aware of some.          You're just

  25    not sure how many?




                    Todd Anderson, RMR, CRR            (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 10 of 103 PageID 2883   10


    1    A.    Yes, sir.

    2    Q.    All right.

    3                 MR. LUND:   May I please have the spreadsheet,

    4    Government's Exhibit 27?

    5                 If I can scroll to the very top, line 1.

    6    BY MR. LUND:

    7    Q.    First of all, do you recognize this spreadsheet generally

    8    as the toll records that you're referring to for Mr. Hatchett's

    9    cell phone?

   10    A.    Yes, sir.

   11    Q.    If we go up to the very top, you can see that this is a

   12    date of 11-10-2013?

   13    A.    Yes, sir.

   14    Q.    Is it fair to say that's where the records start?

   15    A.    That's when they -- and if you'll see, it says, "date of

   16    call."   That's in Pacific Time.

   17    Q.    Yes.

   18    A.    But yes.

   19    Q.    So you're saying -- I understand your -- your point is

   20    absolutely correct about Pacific Time versus Central Time, but

   21    this day is when the records start, correct?

   22    A.    Yes, sir.

   23                 MR. LUND:   At the very bottom line, 961.

   24    BY MR. LUND:

   25    Q.    And the records run all the way, it looks like, down to




                      Todd Anderson, RMR, CRR           (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 11 of 103 PageID 2884   11


    1    11-24; is that correct?

    2    A.    Yes, sir.

    3    Q.    It's about 15 days' worth of records?

    4    A.    Yes, sir.

    5    Q.    So this is obviously a broader range than the time period

    6    that you included in your chart, which was just a few hours,

    7    correct?

    8    A.    I -- I did about 12 hours or so, yes, sir.

    9    Q.    All right.     And you obviously haven't looked at all these

   10    records, so I'm just going to point out a few to you briefly.

   11               MR. LUND:    If I may please have line 154.

   12               (Pause)

   13               MR. LUND:    Thank you.

   14    BY MR. LUND:

   15    Q.    Line 154.    This number right here, you recognize this as

   16    Mr. Hatchett's number, correct?

   17    A.    That's the number I was provided for Mr. Hatchett.

   18    Q.    Now, all of these -- this whole column, because it's the

   19    records for Mr. Hatchett, C is always the same number, correct?

   20    A.    Yes, sir.

   21    Q.    Now, over here, this is the number that this particular

   22    line, 154, is identifying, correct?

   23    A.    That is the number -- it was an outgoing call.

   24    Q.    Uh-huh.

   25    A.    So that's the number that the phone associated with




                    Todd Anderson, RMR, CRR             (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 12 of 103 PageID 2885   12


    1    Mr. Hatchett dialed.

    2    Q.    And this is Hilton Aitch's phone call, correct -- phone

    3    number, correct?

    4    A.    832-887-2763.    Yes, sir.

    5    Q.    And the date is 11-12-13?

    6    A.    Yes, sir.

    7               MR. LUND:    If I could have line 170, please.

    8    BY MR. LUND:

    9    Q.    Line 170, right here.      I'm going to skip over some of

   10    this, because we said this number is always the same, of

   11    course.   This is column C on the left.

   12               And then over here, we have the same number listed

   13    twice.    That's Hilton Aitch's number, correct?

   14    A.    Yes, sir.    There was an outgoing call, and then there was

   15    an SMS pretty much almost at the same time.

   16    Q.    SMS is a text message commonly referred to as, correct?

   17    A.    Yes, sir.

   18    Q.    And the date on this is 11-13?

   19    A.    Yes, sir.

   20               MR. LUND:    If I could have line 200, please.

   21    BY MR. LUND:

   22    Q.    I'm going to try to do this one in a little bit of a

   23    bunch, but stay with me here.

   24               We know that column C is always the same.

   25               We know that over here this is Hilton Aitch's phone




                    Todd Anderson, RMR, CRR             (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 13 of 103 PageID 2886   13


    1    number again, correct?

    2    A.    Yes, sir.

    3    Q.    This is line 200.     And that's 11-13-13, the same day,

    4    correct?

    5    A.    Yes, sir.

    6    Q.    Now, if I show you line 207, same number?

    7    A.    Yes, sir.

    8    Q.    209, same number?

    9    A.    Yes, sir.

   10    Q.    210, same number?

   11    A.    Yes, sir.

   12               MR. LUND:    May I please have line 249?

   13    BY MR. LUND:

   14    Q.    All right.    Line 249.    It was on 11-13 before.      Now I'm on

   15    11-14, correct?

   16    A.    Yes, sir.

   17    Q.    And, again, column C is the same.        It's still

   18    Mr. Hatchett's number?

   19    A.    These are the records for Mr. -- the phone associated with

   20    Mr. Hatchett.

   21    Q.    All right.    And over here we see, once again, this is

   22    another outgoing call to Hilton Aitch at line 249, correct?

   23    A.    Yes, sir.

   24               MR. LUND:    May I please have line 593?

   25    BY MR. LUND:




                    Todd Anderson, RMR, CRR             (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 14 of 103 PageID 2887    14


    1    Q.    Now, you can see here, agent, as we're scrolling through

    2    to line 593, we're scrolling over the three days:           11-16,

    3    11-17, 11-18.     And I'm doing that because those are some of the

    4    days that were reflected in your already done work, correct?

    5    A.    Yes, sir.    I started on the 16th and then rolled through

    6    the 17th.

    7    Q.    All right.    So I'm going to save the jury a little bit of

    8    time here.    We're going to go to line 593.

    9                And as you can see, we're now on 11-19, correct?

   10    A.    Yes, sir.

   11    Q.    This is, again, Hilton Aitch's number, correct?

   12    A.    Yes, sir.

   13    Q.    It's a terminating phone call?

   14    A.    Yes, sir.    That means it was -- terminating means an

   15    incoming call.

   16    Q.    All right.

   17                MR. LUND:   If I could have line 629.

   18    BY MR. LUND:

   19    Q.    Now, line 629 -- thank you.         We look at line 629 and 631

   20    together.    Both 629 and 631 are 11-19, correct?

   21    A.    Yes, sir.

   22    Q.    The number is the same, Hilton Aitch's number for both,

   23    correct?

   24    A.    Yes, sir.

   25                MR. LUND:   If I may have line 687, please.




                     Todd Anderson, RMR, CRR            (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 15 of 103 PageID 2888     15


    1    BY MR. LUND:

    2    Q.    687, we're now on 11-20, correct?

    3    A.    Yes, sir.

    4    Q.    So the next day.      This is now Hilton Aitch's phone number

    5    again, correct?

    6    A.    Yes, sir.

    7    Q.    If I may briefly show you 692.        I don't need to move it

    8    because we can see, once again, it's the same day, 11-20.              And,

    9    again, it's Hilton Aitch's phone number, correct?

   10    A.    Yes, sir.

   11    Q.    Once again, 694, Hilton Aitch's phone number once again.

   12    The same day, correct?

   13    A.    Line 694, sir?

   14    Q.    694.    Yes.     I'm happy to highlight it if I did that too

   15    quickly.

   16    A.    No.    I just -- you -- I missed which line you were talking

   17    about.

   18                 No, that is another call associated between

   19    Mr. Hatchett's phone and phone associated with Mr. Aitch.

   20    Q.    Thank you, agent.

   21                 MR. LUND:    I'd like to go to line 710, please.

   22                 (Pause)

   23    BY MR. LUND:

   24    Q.    Line 710, this is, again -- this is -- now the date is

   25    11-21, correct?




                      Todd Anderson, RMR, CRR           (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 16 of 103 PageID 2889   16


    1    A.    Yes, sir.

    2    Q.    This is Hilton Aitch's number?

    3    A.    Yes, sir.

    4               MR. LUND:    Line 837, please.

    5    BY MR. LUND:

    6    Q.    837 and 838 you'll actually see are both the same Hilton

    7    Aitch number, correct?

    8    A.    Yes, sir.

    9    Q.    The date is now 11-22?

   10    A.    Yes, sir.

   11    Q.    So we're now five days after the Tilak robbery?

   12    A.    Yes, sir.

   13               MR. LUND:    Line 897.

   14               (Pause)

   15               MR. LUND:    897.   Thank you very much.

   16    BY MR. LUND:

   17    Q.    We're now at 11-23.      This is, again, a phone call with

   18    Hilton Aitch's cell phone, correct?

   19    A.    Yes, sir.

   20               MR. LUND:    And line 948.

   21    BY MR. LUND:

   22    Q.    So on line 948, we have, once again, Hilton Aitch's cell

   23    phone?

   24    A.    Yes, sir.

   25    Q.    A terminating voice call with that number?




                    Todd Anderson, RMR, CRR             (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 17 of 103 PageID 2890   17


    1    A.     Yes, sir.

    2    Q.     The date is 11-24?

    3    A.     Yes, sir.

    4    Q.     So that means that from what we just reviewed and from

    5    what you reviewed previously that was shown to the jury

    6    yesterday, there are 15 days of records for Mr. Hatchett's

    7    phone and 12 of those 15 days he's contacting Mr. Aitch,

    8    correct?

    9    A.     I -- I wouldn't be able to say the total number of days of

   10    contact, but there also was contact the day of -- the day

   11    before the robbery and the day of the robbery later in that

   12    day.   But there is contact throughout the records, obviously,

   13    with that number, which obviously they know each other.

   14    Q.     If I were to represent to you that I did the math before

   15    coming to court and that was 12 out of 15 days, would you have

   16    reason to doubt me?

   17    A.     No, sir.

   18    Q.     Thank you.

   19               If I may now then talk about Terrence Thompson.

   20    There were also phone records that you analyzed for Terrence

   21    Thompson's phone, correct?

   22    A.     713-924-8841?

   23    Q.     Yes, sir.    That's a number that you believe was associated

   24    with Terrence Thompson based on your work in this, correct?

   25    A.     Yes, sir.




                    Todd Anderson, RMR, CRR             (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 18 of 103 PageID 2891   18


    1    Q.    All right.    And, again, you analyzed the same days and the

    2    same time period as we did previously with Mr. Aitch, correct?

    3    A.    Yes, sir.

    4                MR. LUND:   Now, if I may have line 121, please,

    5    Ms. Lee.

    6                MS. LEE:    Mr. Lund, which one of the Government's

    7    exhibits?

    8                MR. LUND:   Oh, I'm sorry.      This is the same

    9    Government's exhibit, line 121.

   10                MS. LEE:    Oh, I'm sorry.

   11                MR. LUND:   I appreciate that.

   12    BY MR. LUND:

   13    Q.    Just to be clear, agent, I have not changed Government's

   14    exhibits, correct?

   15    A.    No, sir.

   16    Q.    These are still Mr. Hatchett's call detail -- toll logs

   17    that you reviewed?

   18    A.    Yes, sir.    They're still the toll logs, yes.

   19    Q.    So line 121 here.     We can now see that, again, column C

   20    has not changed, because these are still Mr. Hatchett's

   21    records, correct?

   22    A.    Yes, sir.

   23    Q.    Back to 11-12, five days before the Tilak robbery,

   24    correct?

   25    A.    Yes, sir.




                     Todd Anderson, RMR, CRR            (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 19 of 103 PageID 2892   19


    1    Q.    What's the number this time?

    2    A.    713-924-8841.

    3    Q.    And that's the phone number that you've associated with

    4    Terrence Thompson previously, correct?

    5    A.    Yes, sir.

    6    Q.    Well, without moving this, I'm going to show you line 127.

    7    Is this another same phone -- same phone number, Terrence

    8    Thompson's phone number?

    9    A.    Yes, sir.

   10    Q.    Is this another terminated phone call?

   11    A.    Terminating, yes, sir.

   12                 MR. LUND:   Scroll up just a little bit to line 130.

   13    BY MR. LUND:

   14    Q.    130.    I'm going to show you, once again, the same date,

   15    11-12-2013.     The same phone number, correct?

   16    A.    Yes, sir.

   17    Q.    So that's, again, Terrence Thompson's phone number?

   18    A.    That's the phone associated -- that I was told associated

   19    with Mr. Thompson.

   20    Q.    That's a tongue tier.      I understand.

   21                 MR. LUND:   Line 153, please, Ms. Lee.

   22    BY MR. LUND:

   23    Q.    Line 153 and 155 I'm going to show you briefly together.

   24                 The phone number for 153 matches the phone number for

   25    155, correct?




                      Todd Anderson, RMR, CRR           (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 20 of 103 PageID 2893    20


    1    A.    Yes, sir.

    2    Q.    That's, again, Terrence Thompson's phone number?

    3    A.    Yes, sir.

    4               MR. LUND:    Line 172, please.

    5    BY MR. LUND:

    6    Q.    Line 172, the date has changed.        We're now at 11-13,

    7    correct?

    8    A.    Yes, sir.

    9    Q.    The phone number is still the same, Terrence Thompson's

   10    phone number, outgoing phone call?

   11    A.    Yes, sir.

   12    Q.    Line 173, directly below it, is the same number, correct?

   13    A.    Yes, sir.

   14    Q.    Separate outgoing phone call?

   15    A.    Sorry, sir?

   16    Q.    Separate outgoing phone call?

   17    A.    Yes, sir.

   18    Q.    Thank you.

   19               MR. LUND:    Line 596, please.

   20    BY MR. LUND:

   21    Q.    And, agent, once again, I'm moving past.         As you can see

   22    as we scroll through the dates of 11-16 and 11-17, that was

   23    part of your analysis.      You understand that, correct?

   24    A.    Yes, sir.

   25    Q.    Line 596 will show --




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Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 21 of 103 PageID 2894   21


    1               MR. LUND:    Thank you, Ms. Lee, for your assistance.

    2    BY MR. LUND:

    3    Q.    Line 596, we now have -- is this the same phone number we

    4    looked at before for Terrence Thompson?

    5    A.    Yes, sir, it is.

    6    Q.    The date is now 11-19?

    7    A.    Yes, sir.

    8    Q.    It's another outgoing call?

    9    A.    Yes, sir.

   10    Q.    Line 598, two lines below it, is that another phone call

   11    of Terrence Thompson?

   12    A.    Yes, sir, it is.

   13               MR. LUND:    If I may have line 611, please.

   14    BY MR. LUND:

   15    Q.    Line 611, once again, 11-19.        This is the same outgoing

   16    number for Terrence Thompson, correct?

   17    A.    Yes, sir.

   18    Q.    It's an outgoing phone call?

   19    A.    Yes, sir.

   20    Q.    Go down here to line 614.      Do you recognize this same

   21    number?

   22    A.    Line 614, yes, sir.

   23    Q.    Separate outgoing phone call?

   24    A.    Yes, sir.

   25               MR. LUND:    If I may have line 840, please.




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Case 3:14-cr-00340-K Document 711 Filed 07/10/19    Page 22 of 103 PageID 2895   22


    1    BY MR. LUND:

    2    Q.    840, we've now gone to a different date.

    3               If you can tell, the date is now 11-22; is that

    4    correct?

    5    A.    Yes, sir.

    6    Q.    This is, once again, a separate outgoing phone call to the

    7    same number?

    8    A.    Yes, sir.   It's another outgoing phone call from the --

    9    the phone associated with Mr. Hatchett to the phone associated

   10    with Mr. Thompson.

   11    Q.    So, once again, as before with Hilton Aitch's records, it

   12    seems from these that they knew each other, correct?

   13    A.    Yes, sir.

   14    Q.    They were phone calls well beyond what you were told to

   15    analyze, correct?

   16    A.    Yes, sir.

   17               MR. LUND:    Thank you.    No further questions, Your

   18    Honor.

   19               MR. DE LA GARZA:     Nothing more for Agent Sedwick,

   20    Your Honor.

   21               THE COURT:    Mr. Martin?

   22               MR. MARTIN:    Nothing more, Your Honor.

   23               THE COURT:    All right.       Can we let this gentleman be

   24    excused?

   25               MR. LUND:    Yes, Your Honor, absolutely.




                    Todd Anderson, RMR, CRR              (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19    Page 23 of 103 PageID 2896   23


    1               MR. DE LA GARZA:      No objection.

    2               MR. MARTIN:    Yes, Your Honor.

    3               THE COURT:    You're excused.       Thank you, sir.

    4               THE WITNESS:     Thank you, Your Honor.

    5               (Witness excused)

    6               THE COURT:    Okay.   Are you ready to call your next

    7    witness?

    8               MR. JUNKER:    Your Honor, at this time the Government

    9    rests.

   10               (Government rests)

   11               THE COURT:    All right.       Mr. Lund, Mr. Rogers, there

   12    are some matters we need to take up outside.

   13               MR. LUND:    There is, Your Honor.

   14               THE COURT:    All right.       This shouldn't take too long,

   15    and you've got doughnuts back there.          So -- no more doughnuts.

   16    I'm sorry, I didn't send enough in.          They were big doughnuts,

   17    though.    We'll bring you back out.        And I'll send word in if

   18    it's going to take a long time.       I don't think that it will.

   19               Thank y'all very much.         Don't talk about the case.

   20               All right.

   21               SECURITY OFFICER:     All rise.

   22               (Jury out)

   23               THE COURT:    Mr. Lund, do you want to go?

   24               MR. LUND:    If I may, Your Honor.        Thank you.

   25               Comes now the Defendant, Jimmy Hatchett, in




                    Todd Anderson, RMR, CRR              (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 24 of 103 PageID 2897     24


    1    accordance with Rule 29 of the Federal Rules of Criminal

    2    Procedure.    The Defendant asks for a finding of not guilty as

    3    to all counts of the Fifth Superseding Indictment.

    4               With regards to all counts, there is no reliable

    5    evidence that would prove that Mr. Hatchett was one of the

    6    robbers in question.     The Government's evidence on that point

    7    is limited to phone records which do not demonstrate

    8    participation in the robbery and a vague Facebook record which

    9    at best only indicates that Mr. Hatchett was leaving the

   10    Houston area, not that he was going to rob a store in Dallas.

   11               Beyond that, the Government's only evidence in this

   12    matter against Mr. Hatchett consists of co-defendant witnesses

   13    who were attempting to gain a benefit for their testimony.

   14               THE COURT:    Slow down just a little bit.

   15               MR. LUND:    Yes, Your Honor.

   16               And are, therefore, not inherently reliable.

   17               Unsubstantiated co-conspirator testimony cannot form

   18    the basis of a conviction in this matter; and, therefore, the

   19    Court should enter verdicts of not guilty on all counts.

   20               Additionally, with regards to the two kidnapping

   21    counts, the evidence as presented by the Government simply does

   22    not constitute a kidnapping.       Even if the Court were to believe

   23    that Mr. Hatchett was one of the robbers in question, the

   24    evidence was that the store owners were tied up but not moved,

   25    transported, or otherwise confined to any location.           Further,




                    Todd Anderson, RMR, CRR             (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19    Page 25 of 103 PageID 2898   25


    1    they were not held in the manner contemplated by the kidnapping

    2    statute.   Instead, they were zip tied in order to allow a

    3    robbery to transpire.      This is a grossly overly broad use of

    4    the kidnapping statute and is not supported by the evidence.

    5    The Court should enter not guilty verdicts on Counts Four and

    6    Five.

    7               Thank you, Your Honor.

    8               THE COURT:    All right.       Ms. Hill?

    9               Mr. Martin?

   10               MS. HILL:    Your Honor, without taking any further

   11    time, we also are in agreement with what the defense just asked

   12    for.    We are also asking --

   13               THE COURT:    So you adopt everything he said, too?

   14               MS. HILL:    Everything he said, Your Honor.

   15               THE COURT:    All right.

   16               MS. HILL:    And are asking for the same relief.

   17               THE COURT:    All right.       Government?

   18               MR. JUNKER:    Your Honor, addressing the -- everything

   19    except for the kidnapping counts, first, Your Honor, overall

   20    counsel has argued basically credibility issues that are for

   21    the jury to decide.      The Court's own instruction instructs the

   22    jury that if they believe the co-conspirators, that their

   23    testimony alone is enough for a conviction, contrary to what

   24    counsel argued.

   25               It's a -- there's been sufficient facts, evidence,




                    Todd Anderson, RMR, CRR              (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 26 of 103 PageID 2899     26


    1    and testimony to base a verdict of guilty on all the charges

    2    before the jury should they decide the credibility issues in

    3    favor of the Government.

    4               As to the kidnapping charges, Your Honor, the

    5    Government disagrees as to counsel's characterization of the

    6    kidnapping charges.      I know that the Court has expressed some

    7    concern about those charges.       Let me say this.      First of all,

    8    the kidnapping statute was amended in 2006 by the Adam Walsh

    9    Act.   It --

   10               THE COURT:    By the -- say it again a little slower.

   11               MR. JUNKER:    It was amended in 2006 by the Adam Walsh

   12    Act.

   13               THE COURT:    Yes, sir.

   14               MR. JUNKER:    And that Act added the elements that the

   15    Government is proceeding under, in other words, that you can

   16    use an instrumentality of interstate commerce to infer that it

   17    basically is part of the kidnapping scheme.

   18               At that time Congress recognized that that was going

   19    to enlarge, substantially enlarge the reach of the kidnapping

   20    statute, and they passed it with that in mind.

   21               Now, when they passed the Adam Walsh Act, some of the

   22    things that they passed was sex offenses and were specifically

   23    targeted towards sex offenses involving children.           But other

   24    things that they expanded, they intended to expand in a general

   25    sense, not just involving children but just in general.            And




                    Todd Anderson, RMR, CRR             (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 27 of 103 PageID 2900      27


    1    that's what we're dealing with here.

    2               Now, as far as counsel's argument that it is not the

    3    kind of holding, seizure, or confinement contemplated by the

    4    Act, I respectfully disagree with his characterization for the

    5    following reasons:

    6               First of all, the Defendants, when they entered that

    7    store, they could have pointed the gun at the guy and said get

    8    out.    They didn't, because they didn't want him running and

    9    going to the police.     They planned in advance.        It was

   10    premeditated, planned and purposeful planning to zip tie those

   11    individuals, confine them, put them on the floor, and restrain

   12    them.   That is exactly what is contemplated by this statue.

   13               This is no different than the child predator going

   14    into a bathroom.     We've had -- when I was a state prosecutor,

   15    we had an event where a child goes into the bathroom and

   16    somebody corners him in the bathroom stall.          They're still

   17    confining, seizing, and not letting that person leave.            It is

   18    exactly the kind of conduct that is contemplated by the statue.

   19               They did take it a step further.         This is not

   20    somebody that's just told at gunpoint get on the ground.               They

   21    zip tied them.

   22               Now, you can tell from the video that they didn't zip

   23    tie them very well because they were able to get up and get

   24    loose fairly quickly, but the intent was they would not be able

   25    to get out and that they would not be able to contact the




                    Todd Anderson, RMR, CRR             (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 28 of 103 PageID 2901    28


    1    police quickly.     So this is exactly what is contemplated by the

    2    statute.   And we respectfully submit that this should be

    3    permitted to go to the jury.

    4               The jury should be able to decide whether or not this

    5    issue is a guilty or not guilty, and then counsel can address

    6    that later.    But at this point in time, we have presented

    7    sufficient facts and evidence and circumstances that justify

    8    it.

    9               THE COURT:    Okay.   I'm going to let it go to the

   10    jury, but I still have the same concerns I have with regard to

   11    that, and I'll -- and that way, either way, regardless of what

   12    happens, it will give an opportunity for the Fifth Circuit to

   13    address it and maybe the United States Supreme Court to address

   14    it with regard to that.

   15               I certainly would think that this is a really big

   16    enlargement on what kidnapping is, and we'll just have to -- I

   17    will just have to think about it and look at that statute.             And

   18    I have heard your argument and your comparison to a bathroom

   19    and that sort of thing and what that -- what that entails.

   20               So, anyway, I'm going to submit it, and then we will

   21    see where we are after that.       And I may do something at that

   22    point, and we'll have a chance to -- if there happens to be

   23    convictions on those, we can address it again at that point.

   24               Okay.   So I'm denying your motions on all counts at

   25    this point.




                    Todd Anderson, RMR, CRR             (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19    Page 29 of 103 PageID 2902         29


    1                All right.    How long?    15 minutes?

    2                MR. ROGERS:   I think 15 minutes should be sufficient,

    3    Your Honor.

    4                MR. LUND:    Yes, sir.    Mr. Rogers is doing it, Your

    5    Honor.

    6                THE COURT:    Oh, is he?      Are you, Mr. Rogers?     Okay.

    7                MR. ROGERS:   Yes, Your Honor.

    8                THE COURT:    Mr. Martin, is that enough for you?

    9                MR. MARTIN:   Yes, Your Honor.

   10                THE COURT:    Who's doing it?      Who's doing it?     Both of

   11    y'all or --

   12                MR. DE LA GARZA:      Yes, you Honor.

   13                Your Honor, I will open, and Mr. Junker will do

   14    rebuttal.

   15                THE COURT:    Okay.   And you think that's enough for

   16    y'all?

   17                MR. JUNKER:   Yes, absolutely.

   18                THE COURT:    Okay.   All right.     Now, charge.    Y'all

   19    can sit down.

   20                Have y'all had enough chance to look at the charge

   21    and everything and what you've got and where we are?

   22                I know y'all wanted me to do something the way it had

   23    been done in another court on that brandishing or using.                I'm

   24    going to leave it the way that it is.          I get your point.

   25                And I did one change in how I submit the using part.




                     Todd Anderson, RMR, CRR             (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 30 of 103 PageID 2903   30


    1    Instead of saying "yes or no," I put "guilty or not guilty,"

    2    which I think is a better way to put it.          But I don't -- was

    3    there anything else that y'all had?

    4               MR. JUNKER:    Minor stuff that's already been

    5    corrected, Your Honor.      The Government is satisfied with the

    6    present -- we'll have to read through it, obviously, to see if

    7    there's been any --

    8               THE COURT:    I didn't make any other changes, I don't

    9    think.

   10               Have y'all looked at it from last night?

   11               MR. JUNKER:    I looked at it last night, but since

   12    then, no, I have not had a chance to look at it.

   13               THE COURT:    Oh, I haven't made any -- we haven't

   14    made -- other than what I -- I don't think there's any other

   15    changes other than that that we made.

   16               How about you, Mr. Lund?

   17               MR. LUND:    Your Honor, I have an objection for record

   18    purposes related to our own requested jury instructions;

   19    however, I'm not sure if the Court wants to take that up at

   20    this time or the Court would rather wait till the evidence is

   21    closed in this matter.

   22               THE COURT:    Oh, I'm assuming the evidence is closed,

   23    but you're right, it isn't.

   24               So y'all -- let's go through that right now, and then

   25    you can make that, all right?




                    Todd Anderson, RMR, CRR             (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19    Page 31 of 103 PageID 2904     31


    1               MR. LUND:    Your Honor, may I approach?

    2               THE COURT:    Yes.

    3               (Pause)

    4               THE COURT:    All right.       Call your -- are you going to

    5    have any witnesses that we need to call or not?            I don't want

    6    to go over the charge yet.

    7               MR. LUND:    Then I apologize, Your Honor.         I

    8    misunderstood your comment.       I thought you wanted me to go over

    9    the charge.

   10               THE COURT:    My fault.    My fault.      No, that was my

   11    fault.

   12               All right.    Y'all want me to bring the jury out and

   13    then call witnesses, or where are we at this point?

   14               MR. LUND:    Your Honor, I'm under the impression that

   15    Mr. Martin is actually going first with his case-in-chief.

   16               THE COURT:    Okay.

   17               MR. LUND:    I'm not sure if that's correct or not.

   18               THE COURT:    Mr. Martin, is that right?

   19               MR. MARTIN:    No, Your Honor.       We're going to close.

   20               THE COURT:    Okay.

   21               MR. LUND:    Oh, we're going to close as well.

   22               THE COURT:    Okay.

   23               MR. MARTIN:    And that was a change in position.

   24               THE COURT:    Okay.   So both sides close.

   25               Do you have any admonitions for the Defendants that




                    Todd Anderson, RMR, CRR              (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19    Page 32 of 103 PageID 2905      32


    1    y'all would like to put on the record or anything about if they

    2    want to testify or not testify?       That's up to y'all.        I'm not

    3    demanding anything.

    4               MR. MARTIN:    Yes, Your Honor.

    5               THE COURT:    Okay.

    6               MR. MARTIN:    My admonition would be in the presence

    7    of my client, Treveon Anderson, that we have discussed in great

    8    detail his right, of course, to testify in his own behalf or

    9    his right not to testify in his own behalf.           And he has

   10    informed me that he feels that he does not want to testify, and

   11    that is what he has told me.

   12               THE COURT:    Is that right, Mr. Anderson?

   13               DEFENDANT ANDERSON:      Yes, sir.

   14               THE COURT:    Okay.   Mr. Lund?

   15               MR. LUND:    Your Honor, I won't take up too much of

   16    the Court's time.      Our admissions to Mr. Hatchett have been

   17    very similar.    We've had numerous conversations with him,

   18    including one over lunch yesterday.          And Mr. Hatchett has

   19    consistently indicated to us that he does not want to testify

   20    for various reasons.     I say that in the presence of my client.

   21               THE COURT:    Is that true, Mr. Hatchett?

   22               DEFENDANT HATCHETT:      Yes, sir, it is.

   23               THE COURT:    Okay.

   24               MR. LUND:    Thank you, Your Honor.

   25               THE COURT:    All right.       Anything else?




                    Todd Anderson, RMR, CRR              (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 33 of 103 PageID 2906   33


    1               And I just want to put this on the record.

    2               Mr. Anderson, do you have any complaints about the

    3    quality of the representation since you've got a

    4    court-appointed lawyer?

    5               DEFENDANT ANDERSON:      No, sir.

    6               THE COURT:    Okay.   How about you, Mr. Hatchett?

    7               DEFENDANT HATCHETT:      No, sir, I have no complaints.

    8               THE COURT:    You what?

    9               DEFENDANT HATCHETT:      I said no, sir, I have no

   10    complaints.

   11               THE COURT:    Okay.   All right.

   12               Okay.   Y'all need a little break before we bring them

   13    in and get your act together on making a final argument?

   14               MR. JUNKER:    That would be nice, if the Court please.

   15               MS. HILL:    Yes, sir.

   16               MR. MARTIN:    It would be very nice.

   17               THE COURT:    Okay.   Off the record.

   18               (Discussion off the record)

   19               THE COURT:    Here we go.

   20               MR. LUND:    Your Honor, first, with regards to the

   21    change in -- Your Honor, first, with regards to the change in

   22    the verdict form, I would request that the original verdict in

   23    the verdict form be used as to Count Three as opposed to the

   24    modified version that was just handed to me moments ago.

   25               The original version stated, "Count Three:




                    Todd Anderson, RMR, CRR             (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 34 of 103 PageID 2907   34


    1    Brandishing a firearm during and in relation to a crime of

    2    violence, 18 U.S.C. 924(c)(1)(A)(ii) and 2."          There is a

    3    selection of "guilty" or "not guilty" of the offense charge.

    4    "If your answer to Count Three is 'not guilty,' do you find

    5    that the Defendant used or carried or aided and abetted another

    6    person in using or carrying a firearm during the commission of

    7    the offense?    Yes or no?"

    8               That's my first objection.

    9               THE COURT:    And I changed "yes or no" to "guilty or

   10    not guilty."    And "guilty" goes to where "yes" is, and "not

   11    guilty" goes to where "no" is.

   12               And you object to that, correct?

   13               MR. LUND:    Yes, Your Honor.

   14               THE COURT:    Okay.   I overrule that.      Okay.

   15               MR. LUND:    In addition to that, Judge, previously

   16    filed were Defendant Hatchett's requested jury instructions.

   17    That's Document 513 filed on October 9, 2018.

   18               There are a number of instructions within that that

   19    the Court has refused to adopt in its jury charge, so I would

   20    generally object to the failure to adopt those jury

   21    instructions.

   22               THE COURT:    Yes.    And I reviewed all of those and

   23    chose not to adopt, so I overrule those, and I overrule your

   24    objection.    Okay.

   25               MR. LUND:    I understand, Your Honor.




                    Todd Anderson, RMR, CRR             (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19    Page 35 of 103 PageID 2908   35


    1               THE COURT:    And deny those requests.

    2               MR. LUND:    I understand.

    3               THE COURT:    Anything else?

    4               MR. LUND:    No, Your Honor.

    5               THE COURT:    Okay.   But does that satisfy -- I think

    6    that gets your record cleared up?

    7               MR. LUND:    I believe so, Judge.         Thank you.

    8               THE COURT:    I think so, too.

    9               Anything you want to make on the record?

   10               MR. JUNKER:    No, Your Honor.

   11               THE COURT:    All right.       Okay.    Y'all go take a break.

   12               (Recess from 9:51 to 10:22)

   13               THE COURT:    Okay.   Are we ready to bring them in?

   14               MS. HILL:    Yes, Your Honor.

   15               MR. JUNKER:    The Government is ready, Your Honor.

   16               MS. HILL:    We're ready, Your Honor.

   17               THE COURT:    Okay.   Anybody need warnings, or are

   18    y'all going to keep up with your own time?

   19               MR. ROGERS:    Your Honor, I would ask the Court for a

   20    two-minute warning.

   21               THE COURT:    Okay.

   22               MR. DE LA GARZA:      Your Honor, could I have a warning

   23    at 9 minutes of the 15 minutes, please?

   24               THE COURT:    Okay.

   25               MR. JUNKER:    And may I have a one-minute warning,




                    Todd Anderson, RMR, CRR                (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 36 of 103 PageID 2909   36


    1    Your Honor?

    2                THE COURT:    You want a one --

    3                MR. JUNKER:   One minute, Your Honor.       Thank you very

    4    much.

    5                THE COURT:    You bet.

    6                Yes?

    7                MR. MARTIN:   Judge, one minute.

    8                THE COURT:    Okay.

    9                MR. MARTIN:   Judge, one minute warning for me.

   10                THE COURT:    Okay.   I think I've got all that

   11    straight.

   12                All right.    I don't think there's anything else we

   13    need to do.

   14                You did your Rule 29 outside the presence of the

   15    jury, and I don't think you need to repeat it for purposes of

   16    the record unless you just want to say that.

   17                MR. LUND:    Your Honor -- Your Honor, I would agree

   18    with the Court; however, simply for record purposes, to protect

   19    everything --

   20                THE COURT:    At the end, since both sides rest and

   21    close, you just want to say, "I repeat my motion" or something

   22    like that?

   23                MR. LUND:    Yes, Your Honor.

   24                THE COURT:    And I will interpret that as being a

   25    Rule 29.    You can say the word "Rule 29."        Whatever record you




                     Todd Anderson, RMR, CRR            (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19    Page 37 of 103 PageID 2910    37


    1    need to make.    I'm not trying to prevent you from doing that.

    2    I just want to make sure y'all are clear about that, okay?

    3               MR. LUND:    I appreciate that.       Thank you, Judge.

    4               THE COURT:    You bet.

    5               And you, too, Mr. Martin.

    6               MR. MARTIN:    Thank you, Your Honor.

    7               THE COURT:    Okay.   All right.

    8               SECURITY OFFICER:     All rise for the jury.

    9               (Jury in)

   10               THE COURT:    Y'all be seated.

   11               All right.    Okay.   Mr. Martin?

   12               MR. MARTIN:    No evidence.

   13               THE COURT:    Witnesses?       We haven't closed or anything

   14    in front of the jury.      Do you have any witnesses?

   15               MR. MARTIN:    I'm sorry, Judge.       I understand.     We

   16    close.

   17               (Defendant Anderson rests and closes)

   18               MR. ROGERS:    Your Honor, Mr. Hatchett rests and

   19    close.

   20               (Defendant Hatchett rests and closes)

   21               THE COURT:    And close.

   22               The Government?

   23               MR. JUNKER:    The Government rests and close.

   24               (Government rests and closes)

   25               THE COURT:    Okay.   And so, ladies and gentlemen,




                    Todd Anderson, RMR, CRR              (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19    Page 38 of 103 PageID 2911    38


    1    you've heard all the testimony you're going to hear.

    2               MR. LUND:    Your Honor?

    3               THE COURT:    Just a moment.       There's -- I need to let

    4    them put something in the record.          Just a second.

    5               Go ahead, Mr. Lund.

    6               MR. LUND:    Your Honor, I renew my Rule 29 motion.

    7               THE COURT:    All right.       The same ruling as before.

    8               Mr. Martin?

    9               MR. MARTIN:    We renew ours also, Your Honor.

   10               THE COURT:    All right.       The same ruling as before.

   11               Okay.   You've heard all the evidence you're going to

   12    hear.    I think it's already turned to the page that you need to

   13    be on.   That means we've got a second Number 1, but that's

   14    okay.

   15               If you'll see where it says "Post-Evidence

   16    Instructions," that's where we're going to start reading.

   17               Let me explain something to you.          I'm going to read

   18    this really fast, not because it's not important.            It is

   19    important.    I am required to read it.        It's as if the powers

   20    that be, the judges above me that sit in the Fifth Circuit and

   21    sit in the United States Supreme Court, think that y'all can't

   22    read or some judges don't give this to you to read.            And that's

   23    true.    But -- so don't think just because I'm reading it

   24    quickly doesn't mean that it's not important.           It is important.

   25    You can read it faster than I can.          I don't care how fast I




                    Todd Anderson, RMR, CRR              (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 39 of 103 PageID 2912      39


    1    read.

    2                So don't be alarmed when you hear me read.          It's not

    3    that I don't think it's important, it's that I think you can

    4    read for yourself.       And I've been a judge long enough that if

    5    that irks judges above me, so be it.         Okay?

    6                So here we go.

    7                "Members of the jury, in any jury trial there are in

    8    effect two judges.       I am one of the judges; the other is you,

    9    the jury.    It is my duty to preside over the trial and to

   10    decide what evidence is proper for your consideration.            It is

   11    also my duty at the end of the trial to explain to you the

   12    rules of law that you must follow and apply in arriving at your

   13    verdict.

   14                "First, I will give you some general instructions

   15    which apply in every case, for example, instructions about

   16    burden of proof and how to judge the believability of

   17    witnesses.    Then I will give you some specific rules of law

   18    about this particular case, and finally I will explain to you

   19    the procedures you should follow in your deliberations.

   20                "Number 1.    Jury's Role.

   21                "You, as jurors, are the judges of the facts, but in

   22    determining what actually happened -- that is, in reaching your

   23    decision as to the facts -- it is your sworn duty to follow all

   24    the rules of law as I explain them to you.

   25                "You have no right to disregard or give special




                     Todd Anderson, RMR, CRR            (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 40 of 103 PageID 2913   40


    1    attention to any one instruction, or to question the wisdom or

    2    correctness of any rule I may sate to you.          You must not

    3    substitute or follow your own notion or opinion as to what the

    4    law is or ought to be.      It is your duty to apply the law as I

    5    explain it to you, regardless of the consequences.

    6                "It is also your duty to base your verdict solely

    7    upon the testimony and the evidence, without prejudice or

    8    sympathy.    That was the promise you made and the oath you took

    9    before being accepted by the parties as jurors, and they have

   10    the right to expect nothing less.

   11                "Number 2.   Burden of Proof.

   12                "The indictment or formal charge against the

   13    Defendants is not evidence of guilt.         Indeed, the Defendants

   14    are presumed by law to be innocent.         The Defendants begin with

   15    a clean slate.    The law does not require the Defendants to

   16    prove their innocence or produce any evidence at all.

   17                "The Government has the burden of proving the

   18    Defendants guilty beyond a reasonable doubt, and if it fails to

   19    do so, you must acquit the Defendants.         While the Government's

   20    burden of proof is a strict or heavy burden, it is not

   21    necessary that the Defendants' guilt be proved beyond all

   22    possible doubt.     It is only required that the Government's

   23    proof exclude any 'reasonable doubt' concerning the Defendants'

   24    guilt.

   25                "A 'reasonable doubt' is a doubt based upon reason




                     Todd Anderson, RMR, CRR            (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 41 of 103 PageID 2914         41


    1    and common sense after careful and impartial consideration of

    2    all the evidence in the case.       Proof beyond a reasonable doubt,

    3    therefore, is proof of such a convincing character that you

    4    would be willing to rely and act upon it without hesitation in

    5    making the most important decisions of your own affairs.

    6               "Number 3.    The Evidence.

    7               "As I told you earlier, it is your duty to determine

    8    the facts.    In doing so, you must consider only the evidence

    9    presented during the trial.       Evidence is the sworn testimony of

   10    the witnesses, including stipulations, and the exhibits.               The

   11    questions, statements, objections, and arguments made by the

   12    lawyers are not evidence.

   13               "The function of the lawyers is to point out those

   14    things that are most significant or most helpful to their side

   15    of the case, and in doing so to draw your attention to certain

   16    facts or inferences that might otherwise escape your notice.

   17    In the final analysis, however, it is your own recollection and

   18    interpretation of the evidence that controls in the case.              What

   19    the lawyers say is not binding upon you.

   20               "During the trial I sustained objections to certain

   21    questions.    You must disregard those questions entirely.             Do

   22    not speculate as to what the witness would have said if

   23    permitted to answer the question.         Your verdict must be based

   24    solely on the legally admissible evidence and testimony.

   25               "Also, do not assume from anything I may have done or




                    Todd Anderson, RMR, CRR             (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 42 of 103 PageID 2915   42


    1    said during the trial that I have any opinion concerning any of

    2    the issues in this case.      Except for the instructions to you on

    3    the law, you should disregard anything I may have said during

    4    the trial in arriving at your own verdict.

    5                "In considering the evidence, you are permitted to

    6    draw such reasonable inferences from the testimony and exhibits

    7    as you feel are justified in light of your common experience.

    8    In other words, you may make deductions and reach conclusions

    9    that reason and common sense lead you to draw from the facts

   10    which have been established by the evidence.

   11                "Do not be concerned about whether evidence is

   12    'direct evidence' or 'circumstantial evidence.'           You should

   13    consider and weigh all the evidence that was presented to you.

   14                "'Direct evidence' is the testimony of one who

   15    asserts actual knowledge of a fact, such as an eyewitness.

   16    'Circumstantial evidence' is proof of a chain of events and

   17    circumstances indicating that something is or is not a fact.

   18                "The law makes no distinction between the weight you

   19    may give to either direct or circumstantial evidence.            But the

   20    law requires that you, after weighing all of the evidence,

   21    whether direct or circumstantial, be convinced of the guilt of

   22    the Defendant beyond a reasonable doubt before you can find him

   23    guilty.

   24                "4.   Credibility, Impeachment, Weight of the

   25    Evidence.




                     Todd Anderson, RMR, CRR            (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 43 of 103 PageID 2916      43


    1                "I remind you that it is your job to decide whether

    2    the Government has proved the guilt of the Defendants beyond a

    3    reasonable doubt.     In doing so, you must consider all of the

    4    evidence.    This does not mean, however, that you must accept

    5    all of the evidence as true or accurate.

    6                "You are the sole judges of the credibility or

    7    'believability' of each witness and the weight to be given to

    8    the witness's testimony.      An important part of your job will be

    9    making judgments about the testimony of the witnesses who

   10    testified in this case.      You should decide whether you believe

   11    all, some part, or none of what each person had to say, and how

   12    important that testimony was.       In making that decision I

   13    suggest that you ask yourself a few questions:           Did the witness

   14    impress you as honest?      Did the witness have any particular

   15    reason not to tell truth?      Did the witness have a personal

   16    interest in the outcome of the case?         Did the witness have any

   17    relationship with either the Government or the defense?             Did

   18    the witness seem to have a good memory?         Did the witness

   19    clearly see or hear the things about which he or she testified?

   20    Did the witness have the opportunity and ability to understand

   21    the questions clearly and answer them directly?           Did the

   22    witness's testimony differ from the testimony of other

   23    witnesses?    These are a few of the considerations that will

   24    help you determine the accuracy of what each witness said.

   25                "Your job is to think about the testimony of each




                     Todd Anderson, RMR, CRR            (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 44 of 103 PageID 2917    44


    1    witness you have heard and decide how much you believe of what

    2    each witness had to say.      In making up your mind and reaching a

    3    verdict, do not make any decisions simply because there were

    4    more witnesses on one side than on the other.          Do not reach a

    5    conclusion on a particular point just because there were more

    6    witnesses testifying for one side on that point.           You will

    7    always bear in mind that the law never imposes upon a defendant

    8    in a criminal case the burden or duty of calling any witnesses

    9    or producing any evidence.

   10               "In this case the Government called as one of its

   11    witnesses an alleged accomplice, named as a co-defendant in the

   12    indictment, with whom the Government has entered into a plea

   13    agreement."    It actually had two.       "The agreement provides for

   14    dismissal of certain counts as to the co-defendants and the

   15    nonbinding recommendation for a reduced maximum punishment.

   16    Such plea bargaining, as it is called, has been approved as

   17    lawful and proper, and is expressly provided for in the rules

   18    of this Court.

   19               "An alleged accomplice, including one who has entered

   20    into a plea agreement with the Government, is not prohibited

   21    from testifying.     On the contrary, the testimony of such a

   22    witness may alone be of sufficient weight to sustain a verdict

   23    of guilty.    You should keep in mind that such testimony is

   24    always to be received with caution and weighed with great care.

   25    You should never convict a defendant upon the unsupported




                    Todd Anderson, RMR, CRR             (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 45 of 103 PageID 2918   45


    1    testimony of an alleged accomplice unless you believe that

    2    testimony beyond a reasonable doubt.

    3                "The fact that an accomplice has entered a plea of

    4    guilty to the offense charged is not evidence of the guilt of

    5    any other person.

    6                "The testimony of a witness may be discredited by

    7    showing that the witness testified falsely, or by evidence that

    8    at some other time the witness said or did something, or failed

    9    to say or do something, which is inconsistent with the

   10    testimony the witness gave at this trial.

   11                "Earlier statements of a witness were not admitted in

   12    evidence to prove that the contents of those statements are

   13    true.   You may not consider the earlier statements to prove

   14    that the content of an earlier statement is true; you may only

   15    use earlier statements to determine whether you think the

   16    earlier statements are consistent or inconsistent with the

   17    trial testimony of the witness and therefore whether they

   18    affect the credibility of that witness.

   19                "If you believe that a witness has been discredited

   20    in this manner, it is your exclusive right to give the

   21    testimony of that witness whatever weight you think it

   22    deserves.

   23                "Certain charts and summaries have been shown to you

   24    solely as an aid to help explain the facts disclosed by

   25    evidence (testimony, books, records, and other documents) in




                     Todd Anderson, RMR, CRR            (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 46 of 103 PageID 2919   46


    1    the case.    These charts and summaries are not admitted into

    2    evidence or proof of any facts.       You should determine the facts

    3    from the evidence that is admitted.

    4                "Other charts and summaries have been received into

    5    evidence.    You should give them only such weight as you think

    6    they deserve.

    7                "5.    The Fifth Superseding Indictment.

    8                "You will note that the Fifth Superseding Indictment

    9    charges that the alleged offenses were committed on or about a

   10    specific date -- specified date.          The Government does not have

   11    to prove that the crime was committed on that exact date, so

   12    long as the Government proves beyond a reasonable doubt that

   13    the Defendants committed the crime on a date reasonably near

   14    November 17, 2013, the date stated in the Fifth Superseding

   15    Indictment.

   16                "A separate crime is charged against one or more of

   17    the Defendants in each count of the Fifth Superseding

   18    Indictment.       Each count, and the evidence pertaining to it,

   19    should be considered separately.          The case of each defendant

   20    should be considered separately and individually.           The fact

   21    that you may find one or more of the accused guilty or not

   22    guilty of any of the crimes charged should not control your

   23    verdict as to any other crime or any other defendant.            You must

   24    give separate consideration to the evidence as to each count

   25    and as to each defendant.




                     Todd Anderson, RMR, CRR            (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 47 of 103 PageID 2920   47


    1               "6.    Consider Only Crimes Charged.

    2               "You are here to decide whether the Government has

    3    proved beyond a reasonable doubt that the Defendants are guilty

    4    of the crimes charged.      The Defendants are not on trial for any

    5    act, conduct, or offense not alleged in the Fifth Superseding

    6    Indictment.      Neither are you called upon to return a verdict as

    7    to the guilt of any other person or persons not on trial as a

    8    defendant in this case, except as you are otherwise instructed.

    9               "8.    Expert Opinion Testimony.

   10               "During the trial, you heard the testimony of

   11    individuals who purport to be experts in their fields --

   12    respective fields.     This includes the testimony of the

   13    following witnesses -- witness:       Mark Sedwick, who expressed

   14    opinions on cell tower information for cellular telephones.            If

   15    scientific, technical, or other specialized knowledge might

   16    assist the jury in understanding the evidence or in determining

   17    a fact in issue, a witness qualified by knowledge, skill,

   18    experience, training, or education may testify and state an

   19    opinion concerning such matters.

   20               "Merely because such a witness has expressed an

   21    opinion does not mean, however, that you must accept this

   22    opinion.   You should judge such testimony like any other

   23    testimony.    You may accept it or reject it and give it as much

   24    weight as you think it deserves, considering the witness's

   25    education and experience, the soundness of the reasons given




                    Todd Anderson, RMR, CRR             (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 48 of 103 PageID 2921   48


    1    for the opinion, and all other evidence in the case.

    2                "9.    Punishment Not Your Concern.

    3                "If the Defendants -- either Defendant is found

    4    guilty, it will be my duty to decide what the punishment will

    5    be.    You should not be concerned with the punishment in any

    6    way.   It should not enter your consideration or discussion.

    7                "10.   General Definitions.

    8                "The word 'knowingly,' as that term has been used

    9    from time to time in these instructions, means that the act was

   10    done voluntarily and intentionally, not because of mistake or

   11    accident.

   12                "Interstate commerce means commerce or travel between

   13    one state, territory or possession of the United States and

   14    another state, territory or possession of the United States,

   15    including the District of Columbia.

   16                "Foreign commerce means commerce or travel between

   17    any part of the United States, including its territorial

   18    waters, and any other country, including its territorial

   19    waters.

   20                "The term 'commerce' means all commerce between any

   21    point in a state and any point outside thereof, all commerce

   22    between points within the same state through any place outside

   23    such state, and all other commerce over which the United States

   24    has jurisdiction.

   25                "Commerce includes travel, trade, transportation and




                     Todd Anderson, RMR, CRR            (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 49 of 103 PageID 2922   49


    1    communication.

    2               "Count One -- Conspiracy to Interfere with Commerce

    3    by Robbery.

    4               "18 United States Code, Section 1951(a).

    5               "Count One of the Fifth Superseding Indictment

    6    charges the Defendants Treveon Dominique Anderson and Jimmy

    7    Hatchett with conspiracy to interfere with commerce by robbery

    8    in violation of Title 18, United States Code, Section 1951(a).

    9    The object or purpose of the conspiracy charged in Count One is

   10    robbery, as charged in Count Two.

   11               "A 'conspiracy' is an agreement between two or more

   12    persons to join together to accomplish some unlawful purpose.

   13    It is a kind of 'partnership in crime' in which each member

   14    becomes the agent of every other member.

   15               "For you to find the Defendant guilty of this crime,

   16    you must be convinced that the Government has proved each of

   17    the following beyond a reasonable doubt:

   18               "First:    That the Defendant had at least one other

   19    person -- and at least one other person made an agreement to

   20    commit the crime of interference with commerce by robbery, as

   21    charged in the indictment;

   22               "Second:    That the Defendant knew the unlawful

   23    purpose of the agreement and joined in it willfully, that is,

   24    with the intent to further the unlawful purpose; and

   25               "Third:    That one of the conspirators during the




                    Todd Anderson, RMR, CRR             (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 50 of 103 PageID 2923   50


    1    existence of the conspiracy knowingly committed at least one of

    2    the overt acts described in the indictment, in order to

    3    accomplish some object or purpose of the conspiracy.

    4               "One may become a member of a conspiracy without

    5    knowing all the details of the unlawful scheme or the

    6    identities of all the other alleged conspirators.           If a

    7    defendant understands the unlawful nature of a plan or scheme

    8    and knowingly and intentionally joins in that plan or scheme on

    9    one occasion, that is sufficient to convict him for conspiracy

   10    even though the Defendant had not participated before and even

   11    though the Defendant played only a minor role [sic].

   12               "The Government need not prove that the alleged

   13    conspirators entered into any formal agreement, nor that they

   14    directly stated between themselves all the details of the

   15    scheme.   Similarly, the Government need not prove that all of

   16    the details of the scheme alleged in the indictment were

   17    actually agreed upon or carried out.         Nor must it prove that

   18    all of the persons alleged to have been members of the

   19    conspiracy were such, or that the alleged conspirators actually

   20    succeeded in accomplishing their unlawful objectives.

   21               "Mere presence at the scene of an event, even with

   22    knowledge that a crime is being committed, or the mere fact

   23    that certain persons may have associated with each other, and

   24    may have assembled together and discussed common aims and

   25    interests, does not necessarily establish proof of the




                    Todd Anderson, RMR, CRR             (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 51 of 103 PageID 2924   51


    1    existence of a conspiracy.       Also, a person who has no knowledge

    2    of a conspiracy, but who happens to act in a way which advances

    3    some purpose of a conspiracy, does not thereby become a

    4    conspirator.

    5                "Count Two -- Interference with Commerce by Robbery.

    6                "18 United States Code, Section 1951(a).

    7                "Count Two of the Fifth Superseding Indictment

    8    charges the Defendants Treveon Dominique Anderson and Jimmy

    9    Hatchett with violating Title 18, United States Code, Section

   10    1951(a), which makes it a crime for anyone to obstruct, delay,

   11    or affect commerce by robbery.       The term 'robbery' means the

   12    unlawful taking or obtaining of personal property from the

   13    person or in the presence of another, against that person's

   14    will, by means of actual or threatened force, or violence, or

   15    fear of injury, immediate or future, to that person or

   16    property.

   17                "If -- for you to find Mr. Anderson and Mr. Hatchett

   18    guilty of this crime, you must be convinced that the Government

   19    has proved each of the following beyond a reasonable doubt:

   20                "First:    That the Defendant unlawfully took or

   21    obtained personal property from the person or in the presence

   22    of another, against that person's will;

   23                "Second:   That the Defendant did so by means of

   24    actual or threatened force, or violence, or fear of injury to

   25    that person or their property; and




                     Todd Anderson, RMR, CRR            (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 52 of 103 PageID 2925     52


    1                "Third:   That the Defendant's conduct in any way or

    2    degree obstructed, delayed, or affected commerce or the

    3    movement of any article or commodity in commerce.

    4                "The Government is not required to prove that the

    5    Defendant knew that his conduct would obstruct, delay, or

    6    affect commerce or the movement of any article or commodity in

    7    commerce.    It is not necessary for the Government to show that

    8    the Defendant actually intended or anticipated an effect on

    9    commerce by his actions.      All that is necessary is that the

   10    neutral -- natural, excuse me, and probable consequences of the

   11    acts the Defendant took would be to affect commerce.            If you

   12    decide that there would be any effect at all on commerce, then

   13    that is enough to satisfy this element.

   14                "The term 'property' includes money and other

   15    tangible and intangible things of value.

   16                "The term 'fear' includes fear of economic loss or

   17    damage, as well as fear of physical harm.

   18                "It is not necessary that the Government prove that

   19    the fear was a consequence of a direct threat; it is sufficient

   20    for the Government to show that the victim's fear was

   21    reasonable under the circumstances.

   22                "Count Three -- Using, Carrying, or Brandishing a

   23    Firearm During and in Relation to a Crime of Violence.

   24                "18 U.S.C., Section 924(c)(1)(A)(ii).

   25                "Count Three of the Fifth Superseding Indictment




                     Todd Anderson, RMR, CRR            (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 53 of 103 PageID 2926   53


    1    charges the Defendants Treveon Dominique Anderson and Jimmy

    2    Hatchett with violating Title 18, United States Code, Section

    3    924(c)(1)(A)(ii), which makes it a crime for anyone to

    4    knowingly use, carry, or brandish a firearm during and in

    5    relation to a crime of violence.

    6               "For you to find Mr. Anderson and/or Mr. Hatchett

    7    guilty of this crime you must be convinced that the Government

    8    has proven each of the following beyond a reasonable doubt:

    9               First:     That the Defendant committed the crime

   10    alleged in Count Two of the indictment.         I instruct you that

   11    Interference with Commerce by Robbery is a crime of violence;

   12    and

   13               "Second:    That the Defendant knowingly used, carried,

   14    or brandished a firearm during and in relation to the

   15    Defendant's commission of the crime charged in Count Two of the

   16    indictment.

   17               "To prove the Defendant 'used' a firearm during and

   18    in relation to a crime of violence, the Government must prove

   19    the Defendant actively employed the firearm in the commission

   20    of Count Two, such as a use that is intended to or brings about

   21    a change in the circumstances of the commission of Count Two.

   22    'Active employment' may include brandishing, displaying,

   23    referring to, battering -- bartering, excuse me -- bartering,

   24    striking with, firing, or attempting to fire the firearm.

   25    'Use' is more than mere possession of a firearm or having it




                    Todd Anderson, RMR, CRR             (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 54 of 103 PageID 2927   54


    1    available during the crime of violence.

    2                "To prove the Defendant 'carried' a firearm during

    3    and in relation to a crime of violence, the Government must

    4    prove that the Defendant carried the firearm in the ordinary

    5    meaning of the word 'carry,' such as by transporting a firearm

    6    on the person or in a vehicle.       The Defendant's carrying of the

    7    firearm cannot be merely coincidental or unrelated to the crime

    8    of violence.

    9                "To prove the Defendant 'brandished' a firearm, the

   10    Government must prove that the Defendant displayed all or part

   11    of the firearm, or otherwise made the presence of the firearm

   12    known to another person, in order to intimidate that person,

   13    regardless of whether the firearm was directly visible to that

   14    person.

   15                "'In relation to' means that the firearm must have

   16    some purpose, role, or effect with respect to the crime of

   17    violence.

   18                "Count Four -- Kidnapping.

   19                "18 United States Code, Section 1201(a)(1).

   20                "Count Four of the Fifth Superseding Indictment

   21    charges the Defendants Treveon Dominique Anderson and Jimmy

   22    Hatchett with violating Title 18, United States Code, Section

   23    1201(a)(1), which makes it a crime for anyone to unlawfully

   24    kidnap another person in or affecting interstate or foreign

   25    commerce for some purpose or benefit.




                     Todd Anderson, RMR, CRR            (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 55 of 103 PageID 2928   55


    1               "For you to find Mr. Anderson and/or Mr. Hatchett

    2    guilty of this crime, you must be convinced that the Government

    3    has proved each of the following beyond a reasonable doubt:

    4               First:    That the Defendant, knowingly acting contrary

    5    to law, kidnapped, seized, or confined A.S., the initials of

    6    the person, A.S. as charged;

    7               "Second:    That the Defendant held the person for some

    8    purpose or benefit; and

    9               "Third:    That the Defendant used a facility or

   10    instrumentality of interstate commerce in furtherance of the

   11    commission of the kidnapping.       I instruct you that cellular

   12    telephones and motor vehicles are facilities and/or

   13    instrumentalities of interstate commerce.

   14               "To 'kidnap' a person means to unlawfully hold, keep,

   15    detain, or confine the person against that person's will.

   16    Involuntariness or coercion in connection with the victim's

   17    detention is an essential part of the offense.

   18               "You need not unanimously agree on why the Defendant

   19    kidnapped the person in question, so long as you each find that

   20    he had some purpose or derived some benefit from the

   21    kidnapping.

   22               "The Government need not prove the Defendant knew he

   23    was using a facility or instrumentality of interstate commerce

   24    in furtherance of the commission of the kidnapping, only that

   25    he did.




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Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 56 of 103 PageID 2929   56


    1               "Count Five -- Kidnapping.

    2               18 United States Code, Section 1201(a)(1).

    3               "Count Five of the Fifth Superseding Indictment

    4    charges the Defendants Treveon Dominique Anderson and Jimmy

    5    Hatchett with violating Title 18, United States Code, Section

    6    1201(a)(1), which makes it a crime for anyone to unlawfully

    7    kidnap another person in or affecting interstate or foreign

    8    commerce for some purpose or benefit.

    9               "For you to find Mr. Anderson and/or Mr. Hatchett

   10    guilty of this crime, you must be convinced that the Government

   11    has proved each of the following beyond a reasonable doubt:

   12               "First:    That the Defendant, knowingly acting

   13    contrary to law, kidnapped, seized, or confined a person, the

   14    initials V.P. as charged;

   15               "Second:    That the Defendant held the person for some

   16    purpose or benefit; and

   17               "Third:    That the Defendant used a facility or

   18    instrumentality of interstate commerce in furtherance of the

   19    commission of the kidnapping.       I instruct you that cellular

   20    telephones and motor vehicles are facilities and/or

   21    instrumentalities of interstate commerce.

   22               "To 'kidnap' a person means to unlawfully hold, keep,

   23    detain, or confine the person against that person's will.

   24    Involuntariness or coercion in connection with the victim's

   25    detention is an essential part of the offense.




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Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 57 of 103 PageID 2930     57


    1               "You need not unanimously agree on why the Defendant

    2    kidnapped the person in question, so long as you each find that

    3    he had some purpose or derived some benefit from the

    4    kidnapping.

    5               "The Government need not prove that the Defendant

    6    knew he was using a facility or instrumentality of interstate

    7    commerce in furtherance of the commission of the kidnapping,

    8    only that he did.

    9               "Unanimity of Theory.

   10               "You have been instructed that your verdict, whether

   11    it is guilty or not guilty, must be unanimous.           The following

   12    instruction applies to the unanimity requirement as to Counts

   13    Four and Five.

   14               "Counts Four and Five of the Fifth Superseding

   15    Indictment accuse the Defendants of committing the crime of

   16    kidnapping in three different ways.         The first is that the

   17    Defendant kidnapped A.S. and/or V.P.         The second is that the

   18    Defendant seized A.S. and/or V.P.         The third is that the

   19    Defendant confined A.S. and/or V.P.

   20               "The Government does not have to prove all of these

   21    for you to return a guilty verdict on this charge.           Proof

   22    beyond a reasonable doubt on one is enough.          But in order to

   23    return a guilty verdict, all of you must agree that the same

   24    one has been proved.     All of you must agree that the Government

   25    proved beyond a reasonable doubt that the Defendant kidnapped




                    Todd Anderson, RMR, CRR             (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 58 of 103 PageID 2931   58


    1    A.S. and/or V.P.; or, all of you must agree that the Government

    2    proved beyond a reasonable doubt that the Defendant seized A.S.

    3    and/or V.P.; or, all of you must agree that the Government

    4    proved beyond a reasonable doubt that the Defendant confined

    5    A.S. and/or V.P.

    6               "Aiding and Abetting Instruction.

    7               "With respect to Counts Two through Five of the Fifth

    8    Superseding Indictment, the guilt of the Defendants may be

    9    established without proof the Defendants personally -- that the

   10    Defendants personally did every act constituting the offense

   11    alleged.   The law recognizes that, ordinarily, anything a

   12    person can do for himself may also be accomplished by him

   13    through the direction of another person as his or her agent, or

   14    by acting in concert with, or under the direction of, another

   15    person or persons in a joint effort or enterprise.

   16               "If another person is acting under the direction of

   17    the Defendants or if the Defendants join another person and

   18    perform acts with the intent to commit a crime, then the law

   19    holds that the Defendants -- holds the Defendants responsible

   20    for the acts and conduct of such other persons just as though

   21    the Defendants had committed the acts or engaged in such

   22    conduct.

   23               "Before any defendant may be held criminally

   24    responsible for the acts of others, it is necessary that the

   25    accused deliberately associate himself in some way with the




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Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 59 of 103 PageID 2932   59


    1    crime and participate in it with the intent to bring about the

    2    crime.

    3               "Of course, mere presence at the scene of a crime and

    4    knowledge that a crime is being committed are not sufficient to

    5    establish that a defendant either directed or aided and abetted

    6    the crime unless you find beyond a reasonable doubt that the

    7    Defendant was a participant and not merely a knowing spectator.

    8               "In other words, you may not find any defendant

    9    guilty unless you find beyond a reasonable doubt that every

   10    element of the offense as defined in these instructions was

   11    committed by some person or persons, and that the Defendant

   12    voluntarily participated in its commission with the intent to

   13    violate the law.

   14               "For you to find either defendant guilty of aiding

   15    and abetting an offense, you must be convinced that the

   16    Government has proved each of the following beyond a reasonable

   17    doubt:

   18               "First:    That the offense of Interference with

   19    Commerce by Robbery (for Count Two), Using, Carrying, or

   20    Brandishing a Firearm During and in Relation to a Crime of

   21    Violence (for Count Three), or Kidnapping (for Counts Four and

   22    Five) was committed by some person;

   23               "Second:    That the Defendant associated with the

   24    criminal venture;

   25               "Third:    That the Defendant purposefully participated




                    Todd Anderson, RMR, CRR             (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 60 of 103 PageID 2933   60


    1    in the criminal venture of Interference with Commerce by

    2    Robbery (for Count Two); or that the Defendant actively

    3    participated in the offense of Using, Carrying, or Brandishing

    4    a Firearm During and in Relation to a Crime of Violence (for

    5    Count Three) with advance knowledge that a confederate would

    6    use or carry a gun during the crime's commission; or that the

    7    Defendant purposefully participated in the criminal venture of

    8    Kidnapping (for Counts Four and Five); and

    9               "Fourth:    That the Defendant sought by action to make

   10    that venture successful.

   11               "'To associate with the criminal venture' means that

   12    the Defendant shared the criminal intent of the principal.

   13    This element cannot be established if the Defendant had no

   14    knowledge of the principal's criminal venture.

   15               "'To participate in the criminal venture' means that

   16    the Defendant engaged in some affirmative conduct designed to

   17    aid the venture or assist the principal of the crime.

   18               "'Actively participated' means that the Defendant

   19    provided aid relating to some of a crime's phases or elements.

   20               "'Advance knowledge' means that the Defendant knew

   21    ahead of time -- at a time when he could have walked away --

   22    that his accomplice was going to use, carry, or brandish guns

   23    during the commission of the crime."

   24               The rest of the instructions I will read after you

   25    hear the lawyers' final arguments.




                    Todd Anderson, RMR, CRR             (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 61 of 103 PageID 2934   61


    1               All right.    Mr. De La Garza.

    2               MR. DE LA GARZA:      Thank you.

    3               (Pause)

    4               MR. DE LA GARZA:      May I proceed, Your Honor?

    5               THE COURT:    Yes.

    6               MR. DE LA GARZA:      Counsel, counsel.

    7                            CLOSING STATEMENT

    8    BY MR. DE LA GARZA:

    9               We've had four gunmen in this court.         We've had four

   10    kidnappers in this court.       We've had four conspirators in this

   11    court.    And you're looking at two of those four.

   12               I think the evidence after the two days of trial has

   13    convinced you that Mr. Anderson and Mr. Hatchett are guilty of

   14    the five crimes they've been accused of.

   15               I want to thank you in advance for all the work

   16    you're going to put in in your deliberations.          Please take all

   17    the time that you need to go through this evidence.           Go through

   18    all the exhibits.     Go through the phone records.        Watch the

   19    videos.   Look at the still shots.        Take your time.    Don't rush

   20    this.    It's an important decision both for the Defendants and

   21    for the Government.

   22               You've heard the facts.        You've heard the testimony.

   23    You've heard testimony of the people that are involved on

   24    Government's Exhibit 20:        Mr. Jackson, Mr. Caldwell,

   25    Mr. Pearson, Mr. Flanagan, Mr. Solomon, Mr. Aitch,




                    Todd Anderson, RMR, CRR             (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 62 of 103 PageID 2935      62


    1    Mr. Thompson, Mr. Turner, Mr. Anderson, Mr. Cornelious,

    2    Mr. Rashad, Ms. Scott, Mr. Hatchett, and Mr. Polk.

    3                Some of these people were the gunmen in this robbery.

    4    Some of these people were lookouts.         Ms. Scott drove up to pick

    5    up the jewelry.     Some of these people are older men.         Some of

    6    these people are younger men.

    7                You heard testimony about the youngsters and older

    8    men.   Most of the older men were the lookouts.          Most of the

    9    younger men were the inside men with one exception, Jimmy

   10    Hatchett.    He was one of the older men.

   11                When you watch that video that's Government's

   12    Exhibit 2, look at the difference in how the six younger men

   13    move versus Mr. Hatchett.      That's an older man on that video.

   14    And I don't say that with any offense to any older people on

   15    the jury, but that's an older man.         He moves very differently

   16    than the six younger men do.

   17                You also see in that video glasses.        There's a glint

   18    of a silver piece on those glasses.         And you've heard evidence

   19    and seen evidence that Mr. Hatchett was wearing glasses that

   20    day and wears glasses.

   21                You also heard from Mr. Soni, the victim of this

   22    robbery.

   23                And this robbery is not in dispute.        How do we know

   24    it's not in dispute?     Because it was captured on video,

   25    Government's Exhibit Number 2.       Please take that back with you




                     Todd Anderson, RMR, CRR            (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 63 of 103 PageID 2936     63


    1    and watch it.    Watch all the angles.

    2               Mr. Soni told you that he was, on November 17th, in

    3    his store; the men burst in there; they stole over $500,000.00

    4    in gold from him.     He did not consent to this.        This is not

    5    something he wished upon himself.         This is not something anyone

    6    will wish upon themselves.

    7               He told you his business dealt in foreign-bought

    8    gold, interstate commerce.       He told you that he was forced on

    9    the ground and bound with zip ties, that he was confined, he

   10    was kidnapped.

   11               Now, the Defendant who bound him, Treveon Anderson,

   12    didn't do a very good job of binding Mr. Soni.           Mr. Soni got

   13    out of the zip ties.     Mr. Patel took a little time.        But that

   14    doesn't mean they weren't confined.         They were confined at

   15    gunpoint, guns pointed inches from them.          And watch that video.

   16    Those guns are inches from their backs when they're being

   17    forced on the ground and being zip tied.

   18               Why did they zip tie?      They zip tied because Mr. Soni

   19    and Mr. Patel wouldn't put up a struggle, wouldn't run out of

   20    the store and wave down police.

   21               Now, fortunately for Mr. Soni and Mr. Patel and all

   22    the employees in that store, the panic button had already been

   23    pushed, but that doesn't change the fact they still were

   24    kidnapped, Mr. Soni and Mr. Patel.

   25               You also heard from Special Agent Jason Ibrahim about




                    Todd Anderson, RMR, CRR             (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 64 of 103 PageID 2937    64


    1    the thorough investigation that he did, a four-year

    2    investigation that ultimately located Mr. Anderson and

    3    Mr. Hatchett.

    4                You heard from Officer Barnes who brought you some of

    5    the nuts and bolts of what the local agency working eventually

    6    with the FBI did.     You saw some of the evidence.        He showed you

    7    the vans.    He showed you the blood evidence that was used in

    8    the investigation.     He showed you the bag.       There's a bag

    9    that's been put into evidence you can see that matches the bags

   10    that were used in the video.

   11                Then we heard from two gunmen, two kidnappers, two

   12    conspirators, the men that Mr. Anderson and Mr. Hatchett threw

   13    in with.    Remember, they drove for over 12 hours.         The whole

   14    robbery spanned more than 12 hours, but they drove up and back

   15    from Houston to Dallas with these men, all 13 of them.            This is

   16    the guys they threw in with, okay?         This is the guys that they

   17    agreed to do this robbery with.

   18                These men are criminals.      And when I say criminals, I

   19    don't think you can use another word to better describe

   20    Mr. Turner and Mr. Aitch.      Those men are criminals, undisputed.

   21    But those are the men that Mr. Hatchett and Mr. Anderson

   22    associated with.

   23                And who better?    Are you going to pick choirboys,

   24    priests, ministers to do a robbery with?          No.   You're going to

   25    pick men like Mr. Aitch and Mr. Turner to do that robbery.             And




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Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 65 of 103 PageID 2938      65


    1    you've heard of their criminal experience in doing it.             You

    2    heard all their prior -- prior convictions.

    3               You get to weigh their testimony.         Did it check in

    4    with the facts?     Did it jibe with what happened on the video?

    5    Did it jibe with the phone records?         Evaluate that.

    6               And you get to see all the documents they signed,

    7    their plea agreements, their proffer letters, their plea

    8    agreement supplements.      Look at those.     You can see all the

    9    agreements they have with the Government to testify.

   10               And you heard frankly from them they want to get a

   11    reduction in their sentences for coming here, okay?           So

   12    evaluate that.    But think what they said.        Did it jibe with all

   13    the facts you heard from Special Agent Ibrahim, from the video,

   14    from Officer Barnes?     And I think it does.

   15               You also heard from Special Agent Sedwick.           Special

   16    Agent Sedwick told you about his cell phone analysis.

   17               And Treveon Anderson's cell phone spoke for him,

   18    didn't it?    It did.   It told us where he was.       He was in

   19    Houston early morning 17th with Mr. Turner.          That's exactly

   20    what Mr. Turner said.      They drove up all the way to Dallas.

   21    Exactly what Mr. Turner said.

   22               They did some preparation, stuff they talked about in

   23    Houston, okay, buying supplies, stealing cars, you know, making

   24    sure people were in the right place at the right time, getting

   25    towards the store, looking for police, all the things they




                    Todd Anderson, RMR, CRR             (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 66 of 103 PageID 2939      66


    1    discussed at the Gambling Shack.          That's the conspiracy.       They

    2    planned, they plotted, they prepared for this.           The robbery is

    3    the execution of that conspiracy.

    4               Mr. Hatchett, his cell phone records, they show he's

    5    talking to Mr. Aitch and Mr. Thompson.

    6               Now, if you're friends with somebody before you do a

    7    robbery with them, are you going to stop calling them

    8    afterwards?    No.   Completely consistent.       You call them before;

    9    you call them afterwards.      They're your friends.       They are the

   10    guys you associate with.      They're the ones you hang out with.

   11    They're the ones you do a robbery with.

   12               Mr. Hatchett's Facebook also speaks for himself.

   13    What does he say on his posting the night before?           He tells his

   14    girlfriend, "I'm leaving out of town."         He doesn't say, "I'm

   15    leaving out of town to go to a business convention, go to a

   16    family reunion, go to a Cowboy's game."         He says, "I'm leaving

   17    somewhere.    I'll be out of my misery if I don't come back."

   18               Think about what he knew he was going to be doing in

   19    that robbery.    He knew guns were going to be involved.          He knew

   20    there was danger.

   21               Mr. Turner told you in his testimony, he said, "When

   22    the women were around the corner, I didn't go over there,

   23    because I didn't know if they had a gun."

   24               There was danger involved in this robbery, horribly

   25    and terribly for the victims of it, but also for the men who




                    Todd Anderson, RMR, CRR             (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 67 of 103 PageID 2940    67


    1    were involved in it.     They knew what they were doing.         They

    2    knew the risks.     And Mr. Hatchett says that in the Facebook

    3    posting.   "I'll be out of my misery."

    4               Later that evening his Facebook posting shows some

    5    money.   It's not, you know, $50,000.00, $100,000.00, but it's

    6    money.   Where did he get that money from?

    7               THE COURT:    Nine minutes.

    8               MR. DE LA GARZA:     I think reasonable inferences tell

    9    you that money was from the robbery.

   10               I want to talk about a few things in the charge here.

   11    On the kidnapping, you have to be unanimous in how the

   12    kidnapping -- how you find a verdict on the kidnapping.

   13               The Court's instruction says -- the first allegation

   14    is the Defendants kidnapped A.S. or V.P.          The second is that

   15    they seized them.     The third is that they confined them.

   16               I think the evidence shows here they definitely

   17    confined them.    They put zip ties on their wrists.         But you

   18    have to be unanimous on that when you return your verdict.

   19               Regarding the carrying, using, or brandishing a

   20    firearm, the definition of brandishing is the Government must

   21    prove the Defendant displayed all or part of the firearm, or

   22    otherwise made the presence of the firearm known to another

   23    person, in order to intimidate that person, regardless of

   24    whether the firearm was directly visible to that person.

   25               The video shows directly they brandished those




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Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 68 of 103 PageID 2941   68


    1    firearms.

    2                Ladies and gentlemen, I think after you deliberate,

    3    take your time, look at the exhibits, you'll be confident in

    4    returning a verdict of guilty against Mr. Anderson and

    5    Mr. Hatchett.

    6                Thank you.

    7                THE COURT:    Mr. Martin?

    8                MR. MARTIN:    Yes, Your Honor.     May it please the

    9    Court.

   10                THE COURT:    Yes, sir.

   11                MR. MARTIN:    Able counsel for the Government, most

   12    able Ms. Cindy Lee, helping us with all the documents -- just

   13    leave it.    It's fine -- Ms. Lee, who helped us with the graphic

   14    evidence and the various documents and other evidence that has

   15    been crucial to this case.

   16                              CLOSING STATEMENT

   17    BY MR. MARTIN:

   18                I want y'all to know that I recognize that y'all came

   19    into this courtroom three days ago as strangers to one another

   20    to sit in judgment on two other strangers.          I want you to know

   21    that we appreciate you honoring your summons coming down here

   22    to sit in essentially a form of involuntary servitude in

   23    judgment of these two men.       The system does not work without

   24    you.   Very important.      And we appreciate your service.

   25                I'm going to ask you to base your verdict on three




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Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 69 of 103 PageID 2942   69


    1    things, that is, particularly, and maybe first and foremost,

    2    the law that Judge Kinkeade gives you in these jury

    3    instructions or what we commonly call the Court's charge.

    4               Base your verdict on the law the Judge gives you, the

    5    evidence that has been brought to you by either side, through

    6    direct examination or cross-examination of any of the

    7    witnesses, and, thirdly, the logical inferences and reasonable

    8    deductions that can be made from that evidence.           If you do

    9    that, you will have served well and no one can ask any more of

   10    you.

   11               It is my obligation at this time to submit to you

   12    some of my thoughts and ideas pertaining to the evidence in

   13    this case.

   14               Crucially, in my view of the case, it's based on two

   15    forms of evidence:     cell phone data and accomplice testimony.

   16               I'm not going to beat this to death.         Y'all have

   17    seen -- you've heard from good experts.         You've heard

   18    pertaining to the cell phones, you've seen the video, and

   19    you've heard from the accomplice witnesses.

   20               With respect to the cell phone data, the computer

   21    evidence, both of the experts to my recollection said we can

   22    place the phone at the scene, but we don't know who's using it,

   23    or words essentially to that effect.         And I want -- please

   24    consider that when you're deliberating with respect to what

   25    verdict you want to return in this case based on the evidence.




                    Todd Anderson, RMR, CRR             (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 70 of 103 PageID 2943   70


    1               The other thing I found more troubling is that it's

    2    based on accomplice witness testimony.         And I cannot think of a

    3    more powerful motive to be less than honest with the jury if

    4    you're trying to get a sentence reduction to spend less time in

    5    prison.   I don't care whether it's a month or six years or

    6    more.   It is the most powerful motive I can think of to be less

    7    than honest with the jury.

    8               And what is interesting -- these are my words, but it

    9    is also embodied in the jury instruction that Judge Kinkeade

   10    has given you.    This is His Honor Judge Kinkeade, and this is

   11    his document.

   12               You will see on page 6 it says you should keep in

   13    mind that such testimony, accomplice testimony, is always to be

   14    received with caution and great care.

   15               It's very suspect evidence.        Please analyze that,

   16    talk about it among one another, but scrutinize their evidence

   17    just like the Court is asking you or instructing you in these

   18    jury instructions.

   19               Simply put, the accomplices are just trying to sway

   20    your -- sway your verdict at the cost of these two gentlemen,

   21    particularly my client, Mr. Anderson.

   22               The prosecution asks you to brand these men or

   23    Mr. Anderson a criminal.      But first they owe an obligation to

   24    you, and, that is, to prove their guilt to you beyond a

   25    reasonable doubt to your satisfaction, because this is not a




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Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 71 of 103 PageID 2944     71


    1    country in which you come into the courtroom, point the finger

    2    of accusation, and the axe falls.         To the contrary, you come

    3    into this Court and get due process.

    4               Judge Kinkeade has allowed due process, which just

    5    means fundamental fairness.       And I'm asking you to be fair to

    6    this man, be fair to the law, read the law, follow the Court's

    7    jury instructions.     No one can ask any more of you.

    8               With respect to the jury charge, the jury

    9    instructions, it is more than just a bunch of words.            Really

   10    and truly, it's a precious document that has been based on an

   11    accumulation of legal thinking, judges so forth and so on, for

   12    over -- way over a hundred years.         It is a document that must

   13    be scrutinely -- must be followed carefully, because if not, it

   14    is trouble for all of us.

   15               And once again, there is a common thread that runs

   16    throughout the jury instruction:          presumption of innocence and

   17    proof beyond a reasonable doubt.

   18               When you go back to your verdict, you can say to

   19    yourself, "I started this lawsuit with the understanding that

   20    the Defendant is presumed to be innocent."          And I can read it

   21    in the Court's charge.      Like I said, it's a common thread that

   22    runs throughout the charge, throughout the jury instruction.

   23    That -- you can also read that the burden of proof is on the

   24    Government, and that never shifts throughout -- and it's

   25    throughout the jury trial.




                    Todd Anderson, RMR, CRR             (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 72 of 103 PageID 2945   72


    1               Really, this jury is a citizen of -- this is a group

    2    of citizens from this community, and you are free and

    3    authorized by charge of this Court, these jury instructions, to

    4    return a verdict without fear or favor and to say to the

    5    Government you owe us what the law says you owe us, and that's

    6    proof beyond a reasonable doubt, because I will not act

    7    without -- unless I can without hesitation.

    8               All I'm asking is that you be reasonable with me.

    9    That's all I've asked of any jury at any time.           And being

   10    reasonable with me in this case, my opinion is find this young

   11    man not guilty, because the law does not establish his guilt,

   12    his presence at the jewelry store, beyond a reasonable doubt.

   13               Thank you very much for your attention.

   14               Thank you, Judge.

   15               THE COURT:    Thank you, Mr. Martin.

   16               Mr. Rogers?

   17               MR. ROGERS:    Yes, Your Honor.

   18               (Pause)

   19               MR. ROGERS:    May it please the Court?

   20               THE COURT:    Yes, sir.

   21               MR. ROGERS:    Counsel for the Government, Mr. Martin.

   22               MR. MARTIN:    Thank you.

   23                             CLOSING STATEMENT

   24    BY MR. ROGERS:

   25               Ladies and gentlemen of the jury, early on the




                    Todd Anderson, RMR, CRR             (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 73 of 103 PageID 2946         73


    1    morning of November 17, 2013, a group of people drove up from

    2    Houston to the Metroplex in order to rob a jewelry store in

    3    Irving.   I told you that on Monday that it wasn't in dispute.

    4    What was in dispute is that Mr. Hatchett was there.           And at

    5    this point the Government has not proved to you beyond a

    6    reasonable doubt that Mr. Hatchett was there.

    7               Three people left blood at the scene of that crime.

    8    FBI agent sees this is on TV, calls the local police

    9    department, says, "Hey, guys, you want some help?           I work

   10    robberies for the FBI."

   11               And a couple months later, they get a break in the

   12    case.   There is a hit on the DNA from one of the blood samples.

   13    That's in early 2014.      And that's when Afraybeom "Ray Ray"

   14    Jackson was arrested, the first arrest made in this case.

   15               Mr. Jackson comes in, talks to the Government.              The

   16    investigation continues.      More arrests are made.

   17               At first the other two people left blood at the scene

   18    of the crime.    They are arrested.       They come in, investigation

   19    continues, and eventually more people are arrested.

   20               Eventually, we have 12 people arrested and indicted.

   21               And then three and a half years after the first

   22    arrest in this case, almost four years since the robbery

   23    itself, Mr. Hatchett is arrested.         He's not found in hiding.

   24    He's not on the run, things you might expect from someone who

   25    has allegedly committed a robbery with 12 other people, all of




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Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 74 of 103 PageID 2947      74


    1    whom have been arrested at this point.         No.   He's just living

    2    his life in Houston day-to-day, out in the open.

    3                You heard Agent Ibrahim testify about the scope of

    4    the investigation in this case and the length of the

    5    investigation in this case, the number of agencies that were

    6    involved:    the Irving Police Department, the Farmers Branch

    7    Police Department, the Houston Police Department, task force

    8    officers, at least three FBI agents, who knows how many FBI

    9    analysts.    We're talking about mustering the resources of the

   10    federal government and a lot of resources of the state

   11    government as well, and they end up arresting Mr. Hatchett.

   12                What do they have to show for it?        They have some

   13    posts from Facebook.     They have a grainy photo from the video

   14    of someone who is allegedly wearing metal-frame glasses.               They

   15    have some cell phone records but not any location data.            And

   16    they have the testimony of some snitches.

   17                I talked to you on Monday about the types of evidence

   18    that the Government was going to produce.          We talked about

   19    reliable evidence.     And I told you it's reliable because

   20    usually it's some sort of computer-generated report or record

   21    of an event that occurred, whether that is Facebook or whether

   22    that's a cell phone record.

   23                But I also told you that that reliable data is

   24    reliable only insofar as it tells us something actually

   25    happened, but five years after the fact we can take that out of




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Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 75 of 103 PageID 2948    75


    1    context and sort of make it fit what story we want.           And that's

    2    what happens in this case with both the Facebook records and

    3    the cell phone records.

    4               Agent Ibrahim showed you in his direct testimony that

    5    around the three day -- the three days around the date of the

    6    robbery that there were eight cell phone calls made between

    7    Mr. Hatchett and two of the co-defendants.          And that sounds a

    8    little bit suspicious, but when you stop and back up and look

    9    at a little bit of a broader picture, over the 15 days for

   10    which cell phone records were subpoenaed, there were 25 calls

   11    between Mr. Hatchett and Hilton Aitch, and there were even more

   12    calls -- there were 31 or 32 calls between Terrence Thompson

   13    and Mr. Hatchett.     And now it seems a little bit less

   14    suspicious that there were eight calls in three days.

   15               And if you look at the even bigger raw data that

   16    Agent Sedwick relied on in compiling his reports in

   17    Government's Exhibit 21, which you'll get to look at, you'll

   18    see that over a two-month span, in November and December of

   19    2013, Mr. Thompson and Mr. Hatchett talked.          Probably there are

   20    more than a hundred calls between them.         And there are almost

   21    that many between Mr. Hatchett and Mr. Aitch.          And now it

   22    really doesn't seem suspicious at all, because now you're

   23    talking about guys from the same neighborhood who have known

   24    each other for decades.      Taken out of context, it seems

   25    suspicious.




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Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 76 of 103 PageID 2949     76


    1                Mr. de la Garza said you're going to keep calling

    2    people that you know before and after a robbery.           Of course

    3    you're going to do that.      Well, I hope nobody ever gets my cell

    4    phone records after somebody that I know commits a crime

    5    because they've been calling me before and after the crime.

    6    That's just weak.     That's not proof of anything.

    7                And that, ladies and gentlemen, is really ignoring

    8    the elephant in the room.

    9                Ms. Lee, could I get Government's Exhibit 40, page

   10    Number 4?

   11                We have location data for most of the guys in the

   12    indictment.    We don't have it for Mr. Hatchett.         And the only

   13    answer we got in that regard was, well, it was just too long

   14    ago, T-Mobile doesn't keep their records for that long, or they

   15    didn't back then.     T-Mobile didn't keep their records for that

   16    long back then.

   17                Well, look up here and you see that Xavier Ross,

   18    provider T-Mobile; Hilton Aitch, provider T-Mobile; Ray Ray

   19    Jackson, provider T-Mobile; Slim, Terrence Thompson, provider

   20    T-Mobile.    We've got location data for those guys.

   21                And speaking of taken out of context, you heard Agent

   22    Sedwick say this morning in his cross-examination that he

   23    wasn't asked to get anything other than those three days

   24    surrounding the robbery as far as cell phone data.           And there

   25    is no allegation of Mr. Hatchett being in contact with any of




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Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 77 of 103 PageID 2950   77


    1    the other co-defendants.       But we've got four guys with location

    2    data here who have T-Mobile.       Mr. Hatchett has T-Mobile, no

    3    location data.

    4               Ms. Lee, could I get Government's Exhibit 27, please?

    5               I'm sorry.    27.

    6               MS. LEE:    Yes, sir.    Would you like to have that

    7    spreadsheet we looked at this morning?

    8               MR. ROGERS:    It's not the spreadsheet.        It's actually

    9    just the letter.

   10               I think this is 28.      This is 28.

   11               (Pause)

   12               MR. ROGERS:    It's going to be that third document,

   13    Hatchett subscriber info.

   14               If you can zoom in right here.

   15               Here we have -- it says date, May 30, 2015.

   16               "In response to your subpoena dated March 31, 2015."

   17    And these records are returned May 30, 2015.          That seems pretty

   18    early on in this investigation, but still we don't have cell

   19    phone records -- we don't have any cell phone location data for

   20    Mr. Hatchett.    That's a long time.

   21               And then we have taken out of context the Facebook

   22    records.

   23               Ms. Lee, could I get Defense Exhibit 103, please?

   24               (Pause)

   25               MR. ROGERS:    We have a bag of money with a hundred




                    Todd Anderson, RMR, CRR             (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 78 of 103 PageID 2951     78


    1    dollar bill on top.      So we're talking about a robbery that you

    2    heard yesterday resulted in more than half a million dollars in

    3    stolen jewelry that was fenced for $240,000.00 in cash.            And

    4    these are the proceeds in a perfume bag from Victoria's Secret?

    5               The Government says, well, this was posted the night

    6    of the robbery.      This must be Mr. Hatchett's proceeds.

    7               Okay.   And then they ask you to consider that in

    8    connection with the Facebook conversation that's been

    9    referenced.

   10               Could I get Government's Exhibit 47, please?

   11               Actually, could I go up -- I want to go up just a

   12    little bit, not focus on that part right there.           It's going to

   13    be on the second page.

   14               (Pause)

   15               MR. ROGERS:    Can we focus in on that top paragraph,

   16    please?

   17               Okay.   So this is still universal time, which is six

   18    hours past where we're at, so this is still at 7:00 the day

   19    before the robbery.

   20               "I asked you before to let me go in peace, why you

   21    chose to drag me I don't know.       You know what I'm going through

   22    yet you hurt me still.      I waited all day for you to go to this

   23    room I rented and to give you your gift," the same gift that

   24    the Government says he didn't give until after the robbery.

   25               So they want you to look at part of this




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Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 79 of 103 PageID 2952    79


    1    conversation, saying, "I'm leaving town."          And even there, you

    2    have to assume a lot of things to think that means he did this

    3    robbery.   You have to infer that he actually left town, that he

    4    actually left Houston, that he actually went to Dallas, that he

    5    went to Dallas in order to commit this robbery.           But they're

    6    going to ignore the part where the gift [sic] says, "I had this

    7    gift the day before."      That's the bag of money.

    8               And then there's no forensic evidence that puts

    9    Mr. Hatchett there.     So, instead, we have a grainy still photo

   10    of somebody from the video that looks like they're wearing

   11    glasses with a metal frame.       And they put that up next to a

   12    photo of Mr. Hatchett, another Facebook photo with no date, we

   13    don't know where it was taken or by whom, but it's a photo of

   14    Mr. Hatchett with glasses with metal frames.

   15               Because apparently if you have glasses with metal

   16    frames at some point in your life, that's the only glasses you

   17    have ever had, because nobody would ever have more than one

   18    pair of glasses because they don't want to wear black glasses

   19    with a blue suit or they don't want to wear brown glasses with

   20    a charcoal suit or maybe some days they wear their contacts

   21    because their allergies aren't bothering them.

   22               They've got a photo of two people wearing glasses,

   23    and that's what they say puts Mr. Hatchett at the scene of the

   24    crime.

   25               So when I talk about reliable evidence, it's reliable




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Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 80 of 103 PageID 2953    80


    1    only insofar as that we know these things may have actually

    2    happened.    But taken out of context, it can sort of fit

    3    whatever story you want it to fit.

    4                And talking about stories, that's the other type of

    5    evidence they brought, suspect evidence.          And in this case,

    6    boy, was it ever suspect.

    7                You heard a couple of guys get up on the stand,

    8    co-defendants who are here to help themselves.           They say

    9    they're here to tell the truth, but we know they're here to

   10    help themselves.     Because what do these guys know about the

   11    truth?

   12                You heard about their criminal convictions.         You

   13    heard about their tendencies over a period of multiple years

   14    really, because you've got one guy with juvenile crimes, so his

   15    entire life.    You've got Mr. Aitch, who was convicted and

   16    sentenced to 45 years in 1991.       So that's going on for almost

   17    30 years.

   18                They have tendencies throughout their lives to put

   19    themselves in front of others and try and take advantage of

   20    others.   But here all of a sudden they're here to tell the

   21    truth.

   22                They have shown repeatedly that they can't follow the

   23    Government's instructions because they can't follow the law.

   24    But now they've had a change of heart.         "Now I can follow the

   25    Government's instructions and just tell the truth.           I'm just




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Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 81 of 103 PageID 2954      81


    1    hear to tell the truth.      I only want to tell the truth."           Come

    2    on, you want your sentence reduced.         You want to continue your

    3    pattern of what you've always done, which is put yourself above

    4    others, whatever it takes, in order to get a benefit for

    5    yourself.

    6                And then they say, "Well, I just -- I hope maybe the

    7    Judge will consider that."       Come on, that's not a fringe

    8    benefit; that's the reason you're here.

    9                Hilton Aitch lied to you on the stand.         You heard

   10    Agent Ibrahim say his investigation showed that Hilton Aitch

   11    was one of the ringleaders of this.         And then Hilton Aitch gets

   12    up and says, "Oh, Ricky Polk called me to talk about this.              He

   13    told me about the jewelry store, and this was his idea, and

   14    he's the one who took care of the guns."          Come on, Mr. Aitch.

   15                And then -- that's because Ricky Polk is deceased and

   16    Ricky Polk can't tell a different story.

   17                And then Hilton, that's the same guy who said, "I

   18    don't know if I've ever been arrested for a crime involving

   19    dishonesty."    And that's just minutes after he sat there and

   20    told us that he had already pled guilty to this charge of

   21    robbery.    Robbing somebody is dishonest.        You're taking

   22    something that doesn't belong to you, and in this case you're

   23    taking it by yourself.

   24                Hilton hasn't been charged with kidnapping.         He

   25    hasn't been charged with lying to a federal agent.           He hasn't




                     Todd Anderson, RMR, CRR            (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 82 of 103 PageID 2955     82


    1    been charged with being a felon in possession of a firearm, all

    2    charges, by the way, on which the statute of limitations has

    3    not run.   So for Hilton to come in say, "I've already been

    4    sentenced.    I'm not really going to get much benefit from this,

    5    because I've already gotten my sentence reduction" -- come on.

    6    He's got all sorts of exposure.       Hilton Aitch was here to help

    7    himself.

    8               And then they've got Anthony Turner who told you he

    9    smoked marijuana on a daily basis.

   10               THE COURT:    You've got a couple of minutes.

   11               MR. ROGERS:    How long, Judge?

   12               THE COURT:    A couple of minutes.

   13               MR. ROGERS:    Thank you, Judge.

   14               Anthony Turner smoked marijuana on a daily basis.

   15    That's in addition to his other drug habits, abusing

   16    prescription drugs.      He told you but it didn't have any

   17    effect -- it didn't affect his memory and he wasn't under the

   18    influence of those drugs on that night.         Even though he woke up

   19    that morning and smoked marijuana from the time he woke up

   20    until 8:00 p.m., didn't have any effect.

   21               It had an effect on his memory, because I had to

   22    remind him that when he talked to the probation officer in this

   23    case, he said, "Yeah, I was under the influence."           But now he

   24    gets on the stand and says, "Oh, no, I wasn't under the

   25    influence," because he wants you to think his memory is




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Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 83 of 103 PageID 2956   83


    1    working.

    2                He also gets up and says, "Yeah, I said I about 80

    3    percent recognized Jimmy."       And it wasn't until today that it

    4    was 100 percent sure for the first time that this was actually

    5    Jimmy.   Of course, now that he's in court and he knows what the

    6    stakes are, that's the day he's going to say it's 100 percent

    7    sure he's Jimmy.

    8                And then he tells you that he cuffed 14 pieces of

    9    jewelry.    Everybody was cuffing jewelry.        Cuffed 14 pieces.

   10    That's 14 times he lied and stole and cheated from guys that he

   11    threw in to lie and cheat and steal with.

   12                Everybody is looking out for themselves, he says.

   13    Well, of course, just like him and Hilton Aitch.

   14                These guys met with the Government multiple times

   15    during the course of this investigation, and still they

   16    couldn't get their story straight.

   17                You have Mr. Turner saying, "I rode up from Houston

   18    with Jimmy."

   19                You have Mr. Aitch saying, "I rode up with

   20    Mr. Turner, but Jimmy wasn't there."

   21                You have Mr. Turner saying, "Afterwards we stopped to

   22    put jewelry in Ms. Polk's car" -- I'm sorry, "in Vanlisa's car.

   23    We stopped to put jewelry in there.         We stopped at a gas

   24    station."

   25                Hilton Aitch says, "No, we stopped at a Whataburger."




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Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 84 of 103 PageID 2957     84


    1               You heard Mr. Turner say these guys were housed

    2    together in Seagoville.      It's a lot of time they've been

    3    sitting there while this case is being investigated to talk

    4    about their case and get their story straight.

    5               After the Judge has read you -- the Judge has already

    6    read us the jury charge.      You're going to go back and

    7    deliberate.    I want you to think about those things.          Think

    8    about the lack of location data for the cell phone for

    9    Mr. Hatchett.    Think about how there's no forensic evidence.

   10    Think about how that Facebook message, that photo, were taken

   11    out of context and seem to contradict one another.           And I want

   12    you to think about the inconsistencies and the testimony from

   13    two convicted felons who are here to help themselves out.

   14               And then I want you to remember what I told you on

   15    Monday, that the Government was going to have to change your

   16    mind on this case, that Mr. Hatchett is innocent unless the

   17    Government proves to you, and that proof must be beyond a

   18    reasonable doubt.     And the Government just didn't get there,

   19    because it turns out reliable evidence is not always so

   20    reliable, and the suspect evidence in this case was just as

   21    suspect as I told you it would be.

   22               We heard from one victim in this case, Mr. Soni.             And

   23    he said this was a terrorizing event.         And then we've got two

   24    more guys in here, two co-defendants in here who robbed

   25    Mr. Soni, and they're in here to rob again.          They're trying to




                    Todd Anderson, RMR, CRR             (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 85 of 103 PageID 2958     85


    1    rob society of the sentences that they got when they were

    2    convicted by getting credit for time that they don't deserve,

    3    credit that they don't deserve.        They're trying to rob

    4    Mr. Hatchett of his freedom by putting him behind bars, by

    5    trying to put him at the scene of that crime.

    6               Don't let these men rob us.        Don't let these men

    7    continue to terrorize our justice system.          Find Mr. Hatchett

    8    not guilty.

    9               THE COURT:    Mr. Junker?

   10               MR. JUNKER:    Yes, Your Honor.

   11               (Pause)

   12               MR. JUNKER:    May it please the Court.

   13               THE COURT:    Yes, sir.

   14               MR. JUNKER:    Respected defense counsel.

   15                            CLOSING STATEMENT

   16    BY MR. JUNKER:

   17               Members of the jury, one of the reasons I like my job

   18    is because all we have to deal with is the truth, and the truth

   19    is simple.    The truth fits the facts.       You don't have to make

   20    it and squish it in there to get it to go right.           You just --

   21    it just works because it's exactly what happened, whereas lies

   22    are the things that have to be fit together with everything to

   23    make it work.

   24               And the simple truth here is that those two men were

   25    gunmen in this takeover-style jewelry store robbery.            They




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Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 86 of 103 PageID 2959   86


    1    conspired with the other men to come up from Houston to go into

    2    that store, to zip tie the owners, and take as many jewelry --

    3    as much jewelry as they possibly could.

    4                And they didn't just take the guns in there and carry

    5    them.   They stuck them in their face and threatened them with

    6    the guns to get them to get down on the floor and to zip tie

    7    them.   And that's important when you go back there to make your

    8    decision.    This is not a case where they're simply carrying

    9    guns, using guns; they're actually sticking them in their face.

   10    And you'll see that on the verdict form.

   11                Let's talk about Treveon Anderson.        Treveon Anderson,

   12    you heard, was recruited by Anthony Turner to join this

   13    conspiracy to participate in this robbery.

   14                Now, you're going to hear -- you heard arguments

   15    that, well, you know, both these men that came in and

   16    testified, Mr. Turner and Mr. Aitch, have a powerful motive to

   17    lie.    Granted.   And we've also told you, and everyone agrees,

   18    that they're definitely criminals.

   19                But the problem here is the phone companies don't

   20    care.   The phone companies don't care what the defense says.

   21    They don't care what the Government says.          That is the most

   22    objective evidence you have in this case.          And it's not mere

   23    accident that those phone records confirm everything that

   24    Mr. Aitch and Mr. Turner told you about their participation in

   25    this robbery and kidnapping.       That's not accident.      That is




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Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 87 of 103 PageID 2960    87


    1    confirmation of everything that they told you from the stand as

    2    far as the important points of who was involved in the robbery,

    3    when they came up.

    4               This isn't something where people are coming up

    5    coincidentally at the same time from Houston to Dallas at 3:00

    6    a.m. in the morning.     All these guys rode into town together.

    7    They all came up together.

    8               And it's not a coincidence that Mr. Anderson's phone

    9    was turned off from 9:00 a.m. to 12:00 p.m. at the time that

   10    all the vans were being stolen and the robbery is taking place,

   11    and then suddenly it gets flipped back on at mid -- at noon,

   12    excuse me.

   13               But, instead, what are you brought?         You're brought

   14    basically an equivalent of "Where's Waldo?" for cell phones.

   15               Does it really sound credible that the phone went up

   16    to Dallas but the person didn't?          Is that what we're supposed

   17    to believe?    It makes no sense.

   18               Let's talk about Mr. Hatchett and things being taken

   19    out of context.     First of all, there is nothing wrong that

   20    Agent Ibrahim didn't arrest Mr. Hatchett until three-and-a-half

   21    years later.    It was a careful investigation.        It was

   22    painstakingly put together.

   23               That's the kind of agent that you want out there

   24    working.   You don't want somebody that jumps the gun.           You want

   25    somebody that puts everything together until there's enough to




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Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 88 of 103 PageID 2961    88


    1    make an arrest, to bring it into court and to prove it beyond a

    2    reasonable doubt.     And I submit to you that's what's happened

    3    in this case.    And the fact that the phone records don't have

    4    location data for Mr. Hatchett doesn't mean that he gets a

    5    bonus.

    6               And talking about taking things out of context, sure,

    7    there were other phones from T-Mobile that we had location data

    8    for, but as you heard from that stand repeatedly, different

    9    people were arrested at different times.

   10               There were people who were known very early on, as

   11    defense counsel told you, because of DNA testing.           Sure, we got

   12    those phone records earlier than we got the other ones.            And by

   13    the time Mr. Hatchett was identified, there wasn't a way to get

   14    the cell tower records, because T-Mobile didn't keep them for

   15    more than a year at that time.

   16               And if you want to look at the date on that return

   17    for the subpoena for Mr. Hatchett's records, you'll see it's

   18    well past a year from the date of the robbery.

   19               You had Mr. Hilton Murdock Aitch, a man who's known

   20    Mr. Hatchett for 20 years, come into court and say, "That's the

   21    man that did this robbery with me.         That is one of the people

   22    that was recruited to come in and conspire to do the robbery

   23    and the kidnapping."

   24               And what are we supposed to assume?         Okay.    So we

   25    gave you three days' worth of phone records, highlighted with




                    Todd Anderson, RMR, CRR             (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 89 of 103 PageID 2962     89


    1    the relevant portion of time around the robbery.           And now you

    2    know that they also had contact earlier.          What does that prove,

    3    except that they actually had contact during the planning

    4    stages of the robbery and the fact that they had contact

    5    afterwards when the material was being fenced and the

    6    distributions were being made.

    7               And is it surprising really that they're friends?           I

    8    mean, who are you going to conspire with, perfect strangers or

    9    somebody you're comfortable with?

   10               And do you think it's mere happenstance or

   11    coincidence that he happens to be on the phone with Terrence

   12    Thompson, who you heard from the stand was one of the other

   13    main planners of this robbery, and Hilton Aitch, again, who is

   14    also a planner of the robbery or a main participant?

   15               I talk to you about taking things out of context.

   16    Just because Hilton Aitch testified from that stand that Ricky

   17    Polk also had a role and went and got guns and was the person

   18    that brought this -- this location to him as a possible robbery

   19    target, is that in any way Hilton Aitch saying, "No, I wasn't a

   20    leader or organizer in this robbery"?

   21               Is that the best they've got?        This is a very simple

   22    case.   It requires important decisions to be made by you, but

   23    it is still a very simple, straightforward case.

   24               This is not a case of guilt by association.          This

   25    isn't an association of guilt.       The sole purpose for these




                    Todd Anderson, RMR, CRR             (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 90 of 103 PageID 2963   90


    1    people to be contacting each other and working together on this

    2    is to complete this robbery and this kidnapping.

    3               Let's also talk about things taken out of context

    4    when it comes to the Facebook records.

    5               Even if you put aside the phone records for

    6    Mr. Hatchett, you still have him saying, "I'm going out of

    7    town.   And if things don't work out, I may not be coming back

    8    but at least I'll be out of my misery."

    9               But if you look at those phone records -- excuse me,

   10    the Facebook records, you will also see that when he says that

   11    he waited around in some hotel room for Cheryl Austin, she

   12    accused him of lying.      There's no confirmation in those that he

   13    was in Houston that day or thereafter.

   14               And, again, talking about things --

   15               MR. LUND:    Objection.    Shifting the burden of proof,

   16    Your Honor.

   17               THE COURT:    Overruled.

   18               MR. JUNKER:    As to the evidence, let's also talk

   19    about things taken out of context.

   20               I apologize to the Court, to you folks, and to

   21    defense counsel regarding the technical difficulties we've had

   22    with photos in this courtroom.        That's on me.    That's my fault.

   23    But you've got the originals.        You'll be able to look at them

   24    when you go back to the courtroom [sic].          You look at the

   25    photos of the bag of money.       That's not just a one hundred




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Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 91 of 103 PageID 2964         91


    1    dollar bill laying on top.       If you look at that carefully,

    2    that's not a one hundred dollar bill snugly fit in a small bag.

    3    You can see other money underneath it.

    4               And coincidentally, apparently, the stars align, the

    5    moons came together, and all of a sudden Mr. Hatchett has all

    6    that money not just after the robbery but also after the time

    7    period where they would have made the first contact with a

    8    fence to get money for the robbery.

    9               And he doesn't say, "What do you get your girlfriend

   10    for her birthday?     A hundred dollar bill."       He says, "A bag of

   11    money."

   12               So even he acknowledges when he posted it on Facebook

   13    it is a bag of money.

   14               Then you have the matter with the eyeglasses.           You've

   15    go an agent that focused on the video, watched it very

   16    carefully, and also noticed that there were Facebook photos

   17    showing that man wearing glasses that had a metal piece at the

   18    same location as one of the robbers, that is also identified by

   19    his co-conspirators as having been at the robbery scene.               And

   20    yet now it's again supposed to be coincidence?           That's not

   21    coincidence.    That's confirmation of his presence at the

   22    robbery scene.

   23               This case was carefully put together to prove it

   24    beyond a reasonable doubt, and what we ask you folks to do is

   25    to take your time, be comfortable with your decision.            But




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Case 3:14-cr-00340-K Document 711 Filed 07/10/19    Page 92 of 103 PageID 2965         92


    1    we're asking you to render the only decision that is consistent

    2    with the facts, the only one consistent with the law, and the

    3    only one that's consistent really with what's right to do in

    4    this case, and, that is, a verdict of guilty for both

    5    defendants on all counts.

    6               Thank you.

    7               THE COURT:    All right.       Ladies and gentlemen, I left

    8    a phrase out, and it was an important phrase.

    9               Go back on page 2 of what you've got in the first

   10    paragraph under "Burden of Proof," first paragraph, where it

   11    says, "The law does not require the Defendants to prove their

   12    innocence or produce any evidence at all."           I left a phrase

   13    out, and it's a critical phrase.          "And no inference whatever

   14    may be drawn from the decision of a defendant not to testify."

   15    So I'm adding that in.

   16               You will actually get -- this is the document.               I'm

   17    not going to change all 13 pages that came to you.            But this

   18    will be in the actual document you will get, which will be the

   19    charge that you will work from.       So I want to make sure you

   20    look at that page and see that with regard to that.

   21               Now, back -- turn back to the "Post Argument

   22    Instructions," which are on page 25.

   23               "To reach a verdict, whether it is guilty or not

   24    guilty, all of you must agree.        Your verdict must be unanimous

   25    on each count of the Fifth Superseding Indictment.            Your




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Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 93 of 103 PageID 2966   93


    1    deliberations will be secret.       You will never have to explain

    2    your verdict to anyone.

    3               "It is your duty to consult with one another and to

    4    deliberate in an effort to reach an agreement if you can do so.

    5    Each of you must decide the case for yourself, but only after

    6    an impartial consideration of the evidence with your fellow

    7    jurors.   During your deliberations, do not hesitate to

    8    reexamine your own opinions and change your mind if convinced

    9    that you were wrong.     But do not give up your honest beliefs as

   10    to the weight or effect of the evidence solely because of the

   11    opinion of your fellow jurors, or for the mere purpose of

   12    returning a verdict.

   13               "Remember at all times, you are the judges -- judges

   14    of the facts.    Your duty is to decide whether the Government

   15    has proved that the Defendant is guilty beyond a reasonable

   16    doubt.

   17               "In a few minutes, I will send you to the jury

   18    deliberation room with this charge and the exhibits the Court

   19    has admitted into evidence.       When you go to the jury room, the

   20    first thing that you should do is select one of your number as

   21    your foreperson, who will guide your deliberations and will

   22    speak for you here in the courtroom.         Do not deliberate unless

   23    all of you are present in the jury room.          In other words, if

   24    two or more of you go to lunch together or are together outside

   25    the jury room, do not discuss the case.




                    Todd Anderson, RMR, CRR             (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 94 of 103 PageID 2967     94


    1               "A verdict form has been prepared for your

    2    convenience.    The foreperson will write the unanimous answer of

    3    the jury in the space provided for in each count of the Fifth

    4    Superseding Indictment, either guilty or not guilty.            At the

    5    conclusion of your deliberations, the foreperson should sign

    6    and date -- date and sign the verdict.

    7               "If you need to communicate with me during your

    8    deliberations, the foreperson should write the message and give

    9    it to the Court Security Officer.         I will either reply in

   10    writing or bring you back into the court to answer your

   11    message.

   12               "Bear in mind that you are never to reveal to any

   13    person, not even to the Court, how the jury stands, numerically

   14    or otherwise, on any count of the Fifth Superseding Indictment,

   15    until after you have reached a unanimous verdict.

   16               "So ordered.

   17               "Signed," today, "October 24, 2018."

   18               And then the verdict forms are attached behind that.

   19    You will see that.

   20               And it reads first with regard to Mr. Anderson in

   21    Count One, conspiracy to interfere with robbery, either guilty

   22    or not guilty.

   23               Count Two.    Interference with commerce by robbery,

   24    either guilty or not guilty.

   25               Count Three.     Using, carrying, or brandishing a




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Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 95 of 103 PageID 2968     95


    1    firearm during and in relation to a crime of violence.

    2               And then it's broken down.

    3               "Do you find the Defendant brandished, or aided and

    4    abetted another person in brandishing, a firearm during the

    5    commission of the offense?"       Guilty or not guilty of the

    6    offense charged.

    7               "And if you answered 'not guilty' in the previous

    8    brandishing question, do you find that the Defendant used or

    9    carried, or aided and abetted another person in using or

   10    carrying, a firearm during the commission of the offense?"

   11               And you will either put guilty or not guilty of the

   12    offense charged.

   13               And then kidnapping, guilty or not guilty.

   14               And Five, kidnapping, guilty or not guilty.

   15               And it will be signed by the Presiding Juror.

   16               And Jimmy Hatchett, it's exactly the same form, just

   17    with regard to Mr. Hatchett.

   18               So go back now in the jury room and begin your

   19    deliberation.    I'll send the charge back in a brief moment.

   20               And, Mr. Anderson, if you -- Mr. Anderson, if you'll

   21    remain here in the courtroom.

   22               You haven't done anything wrong.         You're the

   23    alternate juror, and you won't be able to deliberate, but I

   24    never tell jurors that until the very last minute.           It's just

   25    what the law is.




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Case 3:14-cr-00340-K Document 711 Filed 07/10/19    Page 96 of 103 PageID 2969   96


    1                So I didn't want y'all to think there was anything

    2    wrong with Mr. Anderson.       He'll just get to go -- to leave at

    3    this time.

    4                So I'll talk to you just a minute by yourself, and

    5    then everybody else go back in the jury room.

    6                Mr. Anderson, if you'll come right up here.

    7                Thank y'all very much.

    8                SECURITY OFFICER:     All rise.

    9                (Jury out at 11:43)

   10                THE COURT:    Okay.   All right.     Let's bring the jury

   11    in.   We've got a verdict -- verdicts.

   12                (Pause)

   13                SECURITY OFFICER:     All rise for the jury.

   14                (Jury in)

   15                THE COURT:    All right.      Y'all be seated.

   16                Mr. Neber, did the jury reach a verdict?

   17                PRESIDING JUROR:      Yes, Your Honor.

   18                THE COURT:    Mr. Neber, you're the foreman, right?

   19                PRESIDING JUROR:      Yes, sir.

   20                THE COURT:    Okay.   I'm reading the verdict of the

   21    jury.

   22                "We, the Jury, find the Defendant Treveon Dominique

   23    Anderson:

   24                "Count One:   Conspiracy to Interfere with Commerce by

   25    Robbery, guilty of the offense charged.




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Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 97 of 103 PageID 2970     97


    1               "Count Two:    Interference with Commerce by Robbery,

    2    guilty of the offense charged.

    3               "Count Three:     Using, Carrying, or Brandishing a

    4    Firearm During and in Relation to a Crime of Violence."            And

    5    they did find him guilty of brandishing, aiding, and abetting

    6    another person in brandishing, a firearm during the commission

    7    of the offense, guilty of that.       So the second part didn't need

    8    to be answered.

    9               Count Four:    Kidnapping, found him guilty of that in

   10    Count Four.

   11               And in Count Five, guilty of kidnapping.

   12               And signed today, 24th of October, 2018, by Mr. Peter

   13    Neber, foreperson of the jury.

   14               If that's the unanimous verdict on each count, each

   15    and every one of the jurors raise your right hand.

   16               Let the record reflect each and every one of the

   17    jurors raised their right hand, reflecting that is their

   18    unanimous verdict.

   19               With regard to the United States of America versus

   20    Jimmy Hatchett, "We, the Jury, find the Defendant Jimmy

   21    Hatchett, in Count One, Conspiracy to Interfere with Commerce

   22    by Robbery, guilty."

   23               "Count two:    Interference with Commerce by Robbery,

   24    guilty."

   25               "Count Three:     Using, Carrying, or Brandishing a




                    Todd Anderson, RMR, CRR             (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 98 of 103 PageID 2971     98


    1    Firearm During and in Relation to a Crime of Violence."            And

    2    they found him -- it said, "Do you find the Defendant

    3    brandished, or aided and abetted another person in brandishing,

    4    a firearm during the commission of the offense?"           Found him

    5    guilty of that.

    6               Didn't have to answer the second half.          That was all

    7    under Count Three.

    8               Under Count Four, kidnapping, found him guilty of

    9    that.

   10               And in Count Five, guilty of kidnapping.

   11               Signed the 24th day of October, 2018, that's today,

   12    here in Dallas, signed by Peter Neber, Presiding Juror.

   13               If that's the unanimous verdict of each and every one

   14    of the jurors, raise your right hand.

   15               I do receive and accept your verdicts.

   16               Thank you.    Put your hands down.

   17               Let the record reflect each and every one of the

   18    jurors raised their right hand with regard to both of those,

   19    that there being unanimous verdicts as to each count in finding

   20    each of the Defendants guilty on each count.

   21               I do receive and accept your verdict, and you are

   22    discharged.

   23               Thank you very much for being here.

   24               You don't have to come back until you get another one

   25    of those little notices in the mail.




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Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 99 of 103 PageID 2972         99


    1               I can't thank you enough.        It didn't take a long

    2    time, but it's critical and it's important to our system that

    3    folks like you take out of your normal lives and, you know, set

    4    aside everything going on and being -- come down here and be

    5    willing to be part of that.       And you would want that if you

    6    were involved in a case, and so it's important to do it.

    7               I hope we didn't abuse your time too much.           You have

    8    been very good listeners, and I appreciate your time here.

    9               I hope that you have a wonderful Thanksgiving coming

   10    up and other holidays coming up, Christmas and Hanukkah and

   11    Kwanza and the other holidays that are all coming up and --

   12    that's right.    I think that's all that I know about.

   13               But y'all really have done a great service.          And

   14    isn't it unique to see folks from all different walks of life

   15    become a part of that.      That's a great thing to see in our

   16    system.

   17               I will come back there in a minute if y'all have

   18    questions.    You don't -- it will just be a minute before I come

   19    back there.

   20               And then if you want to ask me questions, those that

   21    I can answer, I will; and if I can't, I will not do that.

   22               But I don't -- you won't hear from anybody else

   23    unless I give them permission.       And nobody has requested that

   24    yet.

   25               So thank y'all very much, and I appreciate it.              And




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Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 100 of 103 PageID 2973   100


     1   if you'll wait back there, I'll be back there in about two

     2   seconds.

     3               Thank you very much.

     4               SECURITY OFFICER:     All rise.

     5               (Jury out)

     6               THE COURT:    Okay.   The presentence report on each of

     7   your cases will be due January 9, 2019.

     8               Written objections will be due January 23, 2019.

     9               And after those, if there are objections made, the

   10    Probation Office must disclose any addendum by January the

   11    30th, 2019.

   12                And any written objections to the addendum must be

   13    filed by February 6, 2019.

   14                Your sentencing, each of you, is scheduled for

   15    9:30 a.m. on Wednesday, February 13, 2019.

   16                And you have rights to appeal.        Your lawyers will go

   17    over that with you.      And if, I'm assuming, you still need me to

   18    appoint appellate lawyers, then I will do that at that time.

   19                Is there anything else you need to put in the record,

   20    Mr. Lund?

   21                MR. LUND:    I would ask if the Court is willing for us

   22    to speak to the jurors.

   23                THE COURT:    Let me ask them if they want to, okay?

   24                MR. LUND:    I understand, Your Honor.       Thank you.

   25                THE COURT:    All right.      Anything else?




                     Todd Anderson, RMR, CRR            (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 101 of 103 PageID 2974   101


     1               MR. MARTIN:    No.    No, Your Honor.

     2               THE COURT:    Anything else from the Government?

     3               MR. JUNKER:    No, Your Honor.

     4               THE COURT:    Okay.   All right.     Well, I'll ask them

     5   right now.

     6               Thank y'all.

     7               Stay on top of the appellate timelines, okay?

     8               Thank y'all.

     9               (Jury trial adjourned at 12:58)

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Case 3:14-cr-00340-K Document 711 Filed 07/10/19    Page 102 of 103 PageID 2975   102


     1                                   INDEX

     2                                                                  Voir
                               Direct   Cross      Redirect   Recross   Dire
     3
         WITNESS FOR THE
     4   GOVERNMENT

     5   MARK SEDWICK                      3

     6
         Government rests.......................................... 23
     7
         MOTION:    Mr. Lund......................................... 23
     8
         MOTION:    Ms. Hill......................................... 25
     9
         Admonitions............................................... 32
   10
         Objections to the Court's Verdict Form.................... 33
   11
         Defendant Anderson rests and closes....................... 37
   12
         Defendant Hatchett rests and closes....................... 37
   13
         Government closes......................................... 37
   14
         MOTION:    Mr. Lund......................................... 38
   15
         MOTION:    Mr. Martin....................................... 38
   16
         Court's Charge read.................................... 39,92
   17
         CLOSING STATEMENT:      Mr. De la Garza....................... 61
   18
         CLOSING STATEMENT:      Mr. Martin............................ 68
   19
         CLOSING STATEMENT:      Mr. Rogers............................ 72
   20
         CLOSING STATEMENT:      Mr. Junker............................ 85
   21
         Verdicts.................................................. 96
   22

   23

   24

   25




                     Todd Anderson, RMR, CRR             (214) 753-2170
Case 3:14-cr-00340-K Document 711 Filed 07/10/19   Page 103 of 103 PageID 2976   103


     1       I, TODD ANDERSON, United States Court Reporter for the

     2   United States District Court in and for the Northern District

     3   of Texas, Dallas Division, hereby certify that the above and

     4   foregoing contains a true and correct transcription of the

     5   proceedings in the above entitled and numbered cause.

     6       WITNESS MY HAND on this 10th day of July, 2019.

     7

     8

     9
                                          /s/Todd Anderson
   10                                     TODD ANDERSON, RMR, CRR
                                          United States Court Reporter
   11                                     1100 Commerce St., Rm. 1625
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